Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 1 of 383. PageID #: 362




                              Bill Evans

                    Mazzola v. Togliatti, et al.

                            May 12, 2020




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                                 #: 64 Evans
                                        Filed: 08/04/20 2 of 383. PageID #: 363
                                                                                  1


 1

 2               IN THE UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF OHIO
 3                        EASTERN DIVISION

 4

 5     LEONARD MAZZOLA,          )
                                 )
 6               Plaintiff,      )
       vs.                       )          Case No. 19-CV-02519
 7                               )
       ANTHONY TOGLIATTI, ET AL.,)
 8                               )
                 Defendants.     )
 9
                               - - - - -
10                   THE DEPOSITION OF BILL EVANS
                         TUESDAY, MAY 12, 2020
11                             - - - - -

12

13              The deposition of BILL EVANS, called by

14     the Plaintiff for examination pursuant to the

15     Federal Rules of Civil Procedure, taken before me,

16     the undersigned, Aimee N. Szinte, Notary

17     Public in and for the State of Ohio, via

18     Zoom Videoconference, at 12:30 p.m., the day and

19     date above set forth.

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                                 #: 64 Evans
                                        Filed: 08/04/20 3 of 383. PageID #: 364
                                                                                  2


 1     APPEARANCES:

 2     On behalf of the Plaintiff:

 3              Jessica Savoie, Esq.
                Subodh Chandra, Esq.
 4              The Chandra Law Firm, LLC
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                Cleveland, Ohio 44113
 6              216.578.1700
                Jessica.savoie@chandralaw.com
 7              subodh.chandra@chandralaw.com

 8     On behalf of the Defendant City of Independence:

 9              Steven Strang, Esq.
                Maia Jerin, Esq.
10              Gallagher Sharp
                1501 Euclid Avenue
11              Seventh Floor, Bulkley Building
                Cleveland, Ohio 44115
12              216.241.5310
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13
                and
14
                William Doyle, Esq.
15              Taft, Stettinius & Hollister, LLP
                200 Public Square
16              Suite 3500
                Cleveland, Ohio 44114
17              wdoyle@taftlaw.com

18     On behalf of the Witness:

19              Bradley Snyder, Esq.
                Roetzel & Andress
20              41 S. High Street
                Huntington Center, 1st Floor
21              Columbus, Ohio 43215
                bsnyder@ralaw.com
22
       ALSO PRESENT:
23
                Leonard Mazzola, Plaintiff
24              Anthony Togliatti, Defendant

25                                - - - - -

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     Case: 1:19-cv-02519-JPC DocBill
                                 #: 64 Evans
                                        Filed: 08/04/20 4 of 383. PageID #: 365
                                                                                  3


 1                    BILL EVANS DEPOSITION INDEX

 2
       EXAMINATION BY:                                     PAGE NO.
 3
       MS. SAVOIE          ....................                   5
 4     MR. STRANG          ....................                 101

 5     EXHIBIT NO.         ....................            PAGE NO.

 6               1         ....................                   5
                 2         ....................                   6
 7               3         ....................                   8
                 4         ....................                  86
 8

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     Case: 1:19-cv-02519-JPC DocBill
                                 #: 64 Evans
                                        Filed: 08/04/20 5 of 383. PageID #: 366
                                                                                  4


 1                   BILL EVANS, of lawful age, called by

 2     the Plaintiff for examination pursuant to the

 3     Applicable Rules of Civil Procedure, having been

 4     first duly sworn, as hereinafter certified, was

 5     examined and testified as follows:

 6     EXAMINATION OF BILL EVANS

 7     BY-MS.SAVOIE:

 8     Q    Mr. Evans, my name is Jessica Savoie.             I am an

 9          attorney at the Chandra Law Firm and we

10          represent Leonard Mazzola in a civil lawsuit he

11          has filed.

12                   You're an attorney, correct, Mr. Evans?

13     A    Yes.

14     Q    I had trouble hearing that.          Is there any way

15          we can adjust the sound quickly?

16     A    Yes.     Is that better?

17     Q    It was actually easier to hear you before we

18          went on the record, so I would ask that we go

19          off the record and we do something to adjust

20          the sound on your end, please.

21                           (Recess taken.)

22     Q    So Mr. Evans, you're an attorney, correct?

23     A    Yes.

24     Q    You're well acquainted with depositions, right?

25     A    Yes.

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     Case: 1:19-cv-02519-JPC DocBill
                                 #: 64 Evans
                                        Filed: 08/04/20 6 of 383. PageID #: 367
                                                                                  5


 1     Q    You're familiar with the rules of depositions,

 2          right?

 3     A    Yes.

 4     Q    Because we are conducting this deposition via

 5          Zoom, I would ask that we take extra care to

 6          avoid talking over each other.

 7                   Did you produce documents in response to

 8          a subpoena duces tecum dated December 4, 2019

 9          in the Lenny Mazzola civil lawsuit?

10     A    Yes.

11     Q    Have you had a chance to look at Plaintiff's

12          Exhibit 1, which is a copy of that subpoena?

13     A    Yes.

14     Q    If there are no objections, I'll introduce that

15          as Plaintiff's Exhibit 1 to your deposition so

16          we can establish why you produced those

17          documents.

18                             -   -   -   -   -

19                 (Plaintiff's Exhibit 1 was marked.)

20                             -   -   -   -   -

21     Q    Now, are the documents you produced the

22          documents that we have been provided labeled

23          Plaintiff's Exhibit 2, Bates stamped

24          Evans/PTA 001 through 217?

25     A    This is what came yesterday or the day before,

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     Case: 1:19-cv-02519-JPC DocBill
                                 #: 64 Evans
                                        Filed: 08/04/20 7 of 383. PageID #: 368
                                                                                  6


 1          correct?

 2     Q    Yes.     I sent a copy of what we planned to use

 3          to your attorney.

 4     A    I'm just looking through the one marked

 5          Exhibit 2.     I saw the one marked Exhibit 1.

 6                   And what was Exhibit 2 again?          I'm sorry.

 7     Q    These are the documents you produced in

 8          response to the subpoena, correct?

 9     A    Oh, yes.     The documents that are Bates stamped?

10     Q    Yes.

11     A    Yes.

12     Q    So if there are no objections, we'll introduce

13          that as Plaintiff's Exhibit 2 to your

14          deposition.

15                             -   -   -   -   -

16                 (Plaintiff's Exhibit 2 was marked.)

17                             -   -   -   -   -

18     Q    What else did you produce in response to our

19          subpoena that is Plaintiff's Exhibit 1?

20     A    I don't know of any documents that were

21          produced other than what was specifically

22          requested by your subpoena that has been

23          Bates stamped by Mr. Snyder's office.

24     Q    Did you produce any media files in response to

25          our subpoena?

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     Case: 1:19-cv-02519-JPC DocBill
                                 #: 64 Evans
                                        Filed: 08/04/20 8 of 383. PageID #: 369
                                                                                  7


 1     A    Yes.

 2     Q    So you produced some audio and video files,

 3          correct?

 4     A    That's correct.

 5     Q    We're not using that as part of the exhibit.                I

 6          just wanted to make clear that what we're using

 7          is just the actual documents you produced,

 8          correct?

 9     A    I understand.

10     Q    What did you do to prepare for your deposition

11          today?

12     A    I reviewed the Bates stamped documents that you

13          have in your possession, I have in my

14          possession, and that was all.

15     Q    Did you review anything else you produced in

16          response to the subpoena?

17     A    No.     Just the Bates stamped documents and what

18          you sent yesterday or the day before that we

19          just went over a moment ago.

20     Q    And since we did that off the record, I'll ask

21          you to explain what that is.

22     A    That documents was an I-Team -- it was in

23          written form that I reviewed.           It was an I-Team

24          type of narrative that had to do with this case

25          and that had contained some information

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     Case: 1:19-cv-02519-JPC DocBill
                                 #: 64 Evans
                                        Filed: 08/04/20 9 of 383. PageID #: 370
                                                                                  8


 1          relevant to a lie detector, I think it was

 2          characterized as a lie detector, and a question

 3          or questions posed by Mr. Gallek to the

 4          Chief of Police of Independence, Ohio.

 5     Q    Was that an I-Team article dated May 3 of 2019?

 6     A    I don't know the date on it.            I didn't pay

 7          attention to that.         But it was an I-Team

 8          article.

 9     Q    And do you have it in front of you now?

10     A    I do not.     It's on Mr. Snyder's computer.

11          Would you like me to confirm the date?

12     Q    Please, do.

13     A    The date on that is May 3.

14     Q    2019, correct?

15     A    That's correct.

16     Q    And we had a stamp on it that said Plaintiff's

17          Exhibit 3, correct?

18     A    Yes.

19     Q    If there are no objections, we'll use that as

20          Exhibit 3 to your deposition.            We'll talk about

21          that a little later.

22                             -   -    -   -   -

23                 (Plaintiff's Exhibit 3 was marked.)

24                             -   -    -   -   -

25     Q    Did you communicate with anyone employed by the

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 10 of 383. PageID #: 371
                                                                                  9


 1          City of Independence to prepare for your

 2          deposition?

 3     A    No.

 4     Q    Did you communicate with anyone to prepare for

 5          your deposition?

 6     A    My attorney, Brad Snyder.

 7     Q    Other than your attorney, did you communicate

 8          with anyone else before your deposition?

 9     A    No.

10     Q    Mr. Evans, you own and operate a business

11          called PolyTech Associates, Incorporated,

12          correct?

13     A    That's correct.

14     Q    And you're the President, correct?

15     A    Yes.

16     Q    What services does PolyTech Associates provide?

17     A    Forensic lie detection polygraph services and

18          polygraph testing.        Lie detection services

19          involving ocular lie detection testing.

20          Evaluation for police applicants and fire

21          applicants before hire.         Internal affairs types

22          of investigations for public sector and private

23          sector agencies or entities.           We also do

24          promotional evaluations in the public and

25          private sector, and we write pandemic

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 11 of 383. PageID #: 372
                                                                                  10


 1          catastrophe emergency plans and continuation of

 2          -- government continuation of operation plans.

 3     Q    Do you still practice law?

 4     A    Yes.

 5     Q    What are your practice areas?

 6     A    It's a general area.        It's a small practice

 7          without any areas of specialized concern.

 8     Q    When did you first meet Police Chief

 9          Michael Kilbane?

10     A    It was in respect to this investigation

11          sometime shortly before the investigation.              I

12          don't have the exact date.

13     Q    Did you meet Chief Kilbane when he was working

14          for North Olmsted?

15     A    No.

16     Q    Were you or your company ever retained to do

17          work for North Olmsted Police Department?

18     A    No, Not for the police department, but for the

19          fire department.

20     Q    What was the work you did for North Olmsted?

21     A    This was evaluation for a Fire Chief.

22     Q    When you were retained or when were you

23          retained by the City of Independence for the

24          investigation that involved Lenny Mazzola?

25     A    I don't have the exact date at the tip of my

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 12 of 383. PageID #: 373
                                                                                  11


 1          tongue, but it was shortly before this

 2          investigation began.

 3     Q    Do you know when you first received the

 4          assignment from the City of Independence?

 5     A    I don't know the exact date.

 6     Q    Do you write down your activity on files in

 7          your activity logs?

 8     A    For my record keeping, which is internal, I

 9          write down activity that I do in my activity

10          log in general or notes as they're accumulated.

11     Q    So would you mind looking at Plaintiff's

12          Exhibit 2, which are your records, and the page

13          Bates stamped Evans PTA 103?

14     A    I'm looking at that.        Oh, 103 or 003?

15     Q    103.

16     A    Oh, okay.     I'm sorry.

17     Q    Thank you for clarifying.

18                            MS. SAVOIE:      Steven, can I ask

19          you to put your computer -- I'm getting some

20          background noise from someone.           It looks like

21          you may not be on mute.         Are you on mute?

22                            MR. STRANG:      No, I'm not on mute.

23                            MS. SAVOIE:      Would you mind

24          putting it on mute for now until you need to

25          make an objection?

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 13 of 383. PageID #: 374
                                                                                  12


 1                            MR. STRANG:      I expect it's not

 2          me.    I'm on a speakerphone and there's nothing

 3          else in here, but I'll give it a shot.

 4                            MS. SAVOIE:      Thank you.     That

 5          cleared it up.       That's good.

 6     A    I'm looking at 103 now.

 7     Q    All right.      So looking at 103, if the earliest

 8          date of any activity in your activity log is

 9          January 31, 2019, is that when you received

10          the assignment for this investigation from

11          Chief Kilbane or is that a separate meeting

12          where he first talked to you about it?

13     A    That's when he first talked to me about it.

14     Q    When did you receive the assignment from

15          Chief Kilbane?

16     A    I really don't know when that date was.

17     Q    When did you actually begin your investigation?

18     A    Well, I would look at this activity log and I

19          would say that it would be -- I would say it

20          would be on March 13 when I went to do some

21          interviews at the City of Independence.

22     Q    Can you tell me if there is any difference

23          between the activity log on -- let me back up

24          for a second.

25                  So you have activity logs on pages

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 14 of 383. PageID #: 375
                                                                                  13


 1          Evans/PTA 102 and 103?

 2     A    102 did you say?

 3     Q    Yeah.     You have activity logs on 102 and 103.

 4          Are both of these your activity logs?

 5     A    Yes.

 6     Q    So do you keep these in chronological order?

 7     A    Well, I may go back if I forgot to make an

 8          entry and enter it at a different time if I

 9          don't have the activity log available, so

10          whether it's contemporaneous or chronological,

11          I'm not sure.

12     Q    I'm just trying to understand the chronology of

13          your investigation.        So does this accurately

14          represent the chronology?

15                   And it looks like Evans/PTA 103 is

16          actually early in time and then Evans 102 picks

17          up on March 22, 2019, is that correct?

18     A    Oh.     I see what you're asking.        Because one is

19          before the other, it's two pages, so.

20     Q    Right.

21     A    I understand.

22     Q    Yeah.     So does this set forth the chronology of

23          your investigation?

24     A    Yes.

25     Q    And your investigation actually began whenever

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 15 of 383. PageID #: 376
                                                                                  14


 1          you did interviews on March 13 of 2019,

 2          correct?

 3     A    I guess if you would characterize the bright

 4          line of beginning, that's the first that I

 5          would have made reference to any investigatory

 6          activity.     March 13 was when I left to go to

 7          Independence to do the interviews.

 8     Q    And Chief Kilbane first contacted you on

 9          January 31, 2019?

10     A    Yes.

11     Q    And you had a meeting in person?

12     A    Yes.

13     Q    Whenever you met with Chief Kilbane on

14          January 31 of 2019, what did he tell you about

15          what he was looking for?

16     A    There may be notes or a series of notes in the

17          Exhibit 2 stack of documents that would

18          accurately reflect my understanding of that

19          meeting.     But just in memory, it was an

20          overview of information about the matter in

21          which he was trying to determine information

22          about dissemination of material from outside or

23          from two sources not within the police

24          department.

25     Q    What was the scope of your assignment whenever

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 16 of 383. PageID #: 377
                                                                                  15


 1          you received the formal assignment to begin

 2          your investigation?

 3     A    To identify whether there was information

 4          disseminated outside of the police department's

 5          protocol which would be to outside sources not

 6          authorized by the police department or the

 7          public communications officer for the police

 8          department.

 9     Q    Did Chief Kilbane ask you to perform a criminal

10          investigation as part of this assignment?

11     A    He was uncertain at that point what type of an

12          investigation it may or may not be and had

13          indicated that it could be criminal or within

14          the department as an internal type of matter,

15          and he had identified some breaches of the

16          Ohio Revised Code, as well as identify areas

17          within the police department that were breaches

18          of policy.

19     Q    Are you able to possibly set your microphone

20          settings?

21     A    Maybe I got closer.        Is that better?

22     Q    It's a little better.

23                  Mr. Evans, would you please continue your

24          answer from before about whether you were

25          performing a criminal investigation as part of

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 17 of 383. PageID #: 378
                                                                                  16


 1          your assignment from Chief Kilbane?

 2     A    I really don't have anything to add to that at

 3          this point.

 4     Q    Did you actually perform a criminal

 5          investigation or was this an administrative

 6          investigation?

 7     A    I didn't know until I got to the City on the

 8          13th to do the interviews as to how we were

 9          going to proceed, at that point anyway, and so

10          Sara Liva was the representative for the

11          officers that I was going to interview, the

12          attorney representing the union, and she didn't

13          know either at that point.          And there was

14          contact with Bob Phillips who she worked for by

15          Sara Liva to make a decision at that point as

16          to how to proceed.

17     Q    What was your ultimate decision about how to

18          proceed with your investigation?

19     A    It was not my decision.         It was the decision of

20          the collective client, which would be the HR

21          Director, the Chief of Police and Bob Phillips

22          that we would proceed under Garrity to do the

23          interviews, because I was not a law enforcement

24          officer and if the interviews were going to be

25          done in a different way under a non-Garrity

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 18 of 383. PageID #: 379
                                                                                  17


 1          proceeding, I wasn't able to supply --

 2                            MR. CHANDRA:      At this point we

 3          are getting some distortion now that the

 4          microphone was raised to 90.           I see Aimee

 5          curling her brow the same time I am, so I think

 6          we need to go back to that 90 percent volume

 7          and let's see if that keeps the little

 8          distortion from coming in when you're

 9          emphasizing certain words.          Tell us when you're

10          ready and have been able to do that.

11                            THE WITNESS:      I've taken it down

12          to about 65 percent.        Maybe that's better even

13          than it was at 80 percent.

14                   Can you hear me better now?

15                            MS. SAVOIE:      Yes, Mr. Evans.

16          Thank you.      That sounds better to me.

17     Q    Are you able to continue?

18     A    Yes.

19     Q    So as you were saying before, people suspected

20          of a crime have the right to be issued Miranda

21          Warnings before being questioned, correct?

22     A    Depending on the crime, yes.

23     Q    Can you clarify that answer, please?

24     A    Well, as I understand it -- I have been in law

25          enforcement for a long time, but as I

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 19 of 383. PageID #: 380
                                                                                  18


 1          understand it, it's going to be a situation

 2          involving --

 3                            MR. CHANDRA:      We lost you again.

 4          You dropped off again completely.            We've got

 5          real issues with your microphone.            I wonder if

 6          it might be possible to maybe just switch

 7          computers between Brad and Bill and see if that

 8          might help.      I'm spit balling here, but your

 9          voice suddenly dropped off to unintelligible

10          again.

11                            MS. SAVOIE:      Let's have the

12          question read back.

13                            (Record read.)

14     A    If it's a custodial interview and the person

15          isn't free to leave, then Miranda needs to be

16          given.

17     Q    Okay.     It sounded like you cut off there.           Was

18          your last word given?

19     A    Yes.

20     Q    Did you use Garrity during this investigation?

21     A    Yes.

22     Q    Did the City officials that you mentioned

23          before decide this was an administrative

24          investigation rather than a criminal

25          investigation?

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 20 of 383. PageID #: 381
                                                                                  19


 1     A    Yes.

 2     Q    Did Chief Kilbane or anyone ask you to

 3          investigate who violated any specific employee

 4          policies or department policies?

 5     A    Yes.     That was the general theme of the

 6          investigation was to try to identify who

 7          violated the policies.

 8     Q    Did Chief Kilbane or anyone at the City ask you

 9          to analyze which laws may be implicated by the

10          facts that you discovered during your

11          investigation?

12     A    No.

13     Q    Did anyone at the City ask you to analyze what

14          ordinances might have been implicated by the

15          facts you learned?

16     A    No.

17     Q    Did anyone at the City ask you to analyze

18          whether any of the facts you learned violated

19          any internal department policies?

20     A    No.

21     Q    Other than what we've discussed so far, can you

22          give me more information about the scope of

23          your assignment from the City of Independence

24          that we've been discussing?

25     A    No.     I think I pretty much summed it up.

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 21 of 383. PageID #: 382
                                                                                  20


 1     Q    Can you explain the timing -- I just heard some

 2          weird feedback.       Was someone trying to object

 3          or say something?

 4                  With respect to the timing of your

 5          assignment and your investigation, what

 6          prompted your initial assignment?

 7     A    I'm not clear on the question.

 8     Q    What happened to prompt the City of

 9          Independence to retain you to conduct an

10          investigation?

11     A    It was the -- as I testified earlier, the

12          dissemination of information in breach of

13          policy, as I understood it.

14     Q    And how did Chief Kilbane or anyone at the City

15          learn about that?

16     A    I don't know.

17     Q    Did Chief Kilbane talk to you about a news

18          article by Ed Gallek dated January 14 of 2019?

19     A    What was the date again, please?

20     Q    January 14, 2019.        In your documents that

21          we've labeled Plaintiff's Exhibit 2, at page

22          Evans/PTA 095 there's a copy of that article

23          with your documents.

24     A    095 you said?

25     Q    Correct.

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 22 of 383. PageID #: 383
                                                                                  21


 1     A    Okay.     I'm looking at that document.

 2     Q    Did Chief Kilbane tell you whether that

 3          document prompted him to contact you?

 4     A    Not specifically, no.

 5     Q    Was it your understanding that that news

 6          coverage prompted him to contact you?

 7     A    That was in part of something he referred to,

 8          but I really don't know what prompted him to

 9          contact me other than what I testified to.

10     Q    Did he give you the document that's labeled as

11          page 95 here?

12     A    Yes.

13     Q    Did Chief Kilbane also give you documents that

14          he thought were the source of the two circled

15          and underlined portions of that article?

16     A    He gave me that document that you're referring

17          to, 095.     Does that answer your question?

18     Q    Not quite, but I'll break it down a little

19          more.

20                   So do you see how there are circled and

21          underlined portions on page 095 in that

22          document?

23     A    Yes.

24     Q    So one of them is a police memo that shows,

25          "Productivity standard.         Patrol officers shall

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                                 #: 64 Evans
                                       Filed: 08/04/20 23 of 383. PageID #: 384
                                                                                  22


 1          meet or exceed 10 traffic citations per month."

 2          Correct?

 3     A    Correct.

 4     Q    And a second portion that is circled and

 5          underlined says -- another memo refers to,

 6          "At least two to three traffic enforcement

 7          actions per shift."        Correct?

 8     A    That's correct.

 9     Q    And the article also says, "These can include

10          warnings or crash investigations, not just

11          tickets."     Correct?

12     A    Correct.

13     Q    And then turning to the next page of

14          Plaintiff's Exhibit 2 to Evans PTA 096 --

15     A    Yes, I see that.

16     Q    Is there highlighted language on that page?

17     A    Yes.

18     Q    Did you highlight that or did someone else

19          highlight it?

20     A    I don't know.      I'm not sure who highlighted

21          that.

22     Q    Was that highlighted to correspond to similar

23          or the same language contained on page 095 in

24          the news article?

25     A    Yes.

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                                 #: 64 Evans
                                       Filed: 08/04/20 24 of 383. PageID #: 385
                                                                                  23


 1     Q    Can you identify that document on page 096?

 2     A    That's the document from Leonard Mazzola to the

 3          patrol -- excuse me -- to police and

 4          dispatchers dated September 25, 2018 and the

 5          subject is, "Performance Standard."

 6     Q    Okay.     And you also received a memorandum from

 7          Leonard Mazzola to JT Kurtz, correct?

 8     A    You know, I'm sorry and I apologize.             I don't

 9          know the name specifically and if you could

10          reference the document, that might help me out.

11          I don't know the names as well as I would the

12          documents, so if we can refer to a specific

13          PTA number.

14     Q    Okay.     Yes.     Let me locate that really quickly.

15                              MS. SAVOIE:      Let's take a quick

16          break for a second.

17                             (Recess taken.)

18     Q    Could you please turn to Evans/PTA 082?

19     A    Yes.

20     Q    And so Chief Kilbane gave you a copy of this

21          memo as well, correct?

22     A    I'm not there quite yet.          So 082 you said,

23          correct?

24     Q    You can go to 082 or 081.          It looks like

25          they're the same document.

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                                 #: 64 Evans
                                       Filed: 08/04/20 25 of 383. PageID #: 386
                                                                                  24


 1                   Can you identify that document, please?

 2     A    This document is to Sergeant JT Kurtz from

 3          Lieutenant Mazzola.        There's a copy to

 4          Chief Kilbane.       The memo is dated August 8,

 5          2018 and the subject matter is, "Productivity."

 6     Q    Do you see the highlighted and underlined

 7          language?

 8     A    Yes, I do.

 9     Q    And what language is highlighted and

10          underlined?

11     A    "At least two to three traffic enforcement

12          actions per shift."

13     Q    Does that correspond to the quote from the news

14          article dated January 14, 2019 that we

15          discussed a moment ago?

16     A    And that was Bates stamp number?

17     Q    95.

18     A    95, okay.

19     Q    Yes.

20     A    Let's see.      "At least two to three law

21          enforcement actions per shift."

22     Q    So the question is was that document at

23          Evans/PTA 081 given to you because it needed to

24          correspond to the information in the news

25          article?

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                                 #: 64 Evans
                                       Filed: 08/04/20 26 of 383. PageID #: 387
                                                                                  25


 1     A    I'm looking to see where "at least two to three

 2          traffic enforcement actions per shift" appears

 3          on Bates stamp 095 and I haven't found that

 4          yet.

 5     Q    There's some highlighted and underlined

 6          language.     So do you see about 40 percent of

 7          the way down the page where it says, "Another

 8          memo refers to 'at least two to three traffic

 9          enforcement actions per shift'"?

10     A    Yes.     I see that.

11     Q    Okay.     So --

12     A    I see it, yes.       I see the correlation, yes.

13     Q    Right.     So I'm just trying to understand who

14          gave you the documents in your file and why,

15          right?

16                   So Chief Kilbane gave you this memo

17          that's on page Evans/PTA 081, correct?

18     A    Yes.

19     Q    And he gave it to you because he thought the

20          information was -- he thought that the

21          information in this memo was the source of the

22          information in the news article, correct?

23                            MR. STRANG:      Objection.

24     Q    Do you know why he gave you this memo?

25     A    No.     I can tell you that various memos were

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                                 #: 64 Evans
                                       Filed: 08/04/20 27 of 383. PageID #: 388
                                                                                  26


 1          given to me without highlighting.            I

 2          highlighted -- I can identify this now better

 3          because I highlighted the blue as being similar

 4          and I believe I highlighted the blue on Bates

 5          stamp 81 and the yellow on Bates stamp 81.

 6     Q    So you made these highlights?

 7     A    And I believe I highlighted 95.           You asked me

 8          that earlier and I wasn't sure, but now that I

 9          see the color on these two, I believe I

10          highlighted both of these pages.

11     Q    So you highlighted these in the course of your

12          investigation?

13     A    Yes, I believe I did.

14     Q    Chief Kilbane also gave you an e-mail from

15          Ed Gallek to Chief Kilbane dated January 14 of

16          2019 which is found at Evans/PTA 090, correct?

17     A    I want to make sure I keep these in order

18          because I am pulling them out, so let me put

19          this back.

20                   090 is the one you're going to now?

21     Q    Correct.

22     A    All right.      Let me pull that out.        Okay.    I

23          have 090 in my hand.

24     Q    Chief Kilbane gave you this e-mail, correct?

25     A    Yes.

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                                 #: 64 Evans
                                       Filed: 08/04/20 28 of 383. PageID #: 389
                                                                                  27


 1     Q    And this was an e-mail from Ed Gallek, correct?

 2     A    Yes.

 3     Q    He made a public records request for

 4          pre-disciplinary and disciplinary paperwork for

 5          Leonard Mazzola, correct?

 6     A    He being Ed Gallek?

 7     Q    Correct.

 8     A    That would be an assumption on my part.

 9     Q    So is it correct that the e-mail reads, "I'm

10          requesting the pre-disciplinary and

11          disciplinary paperwork for Lieutenant Mazzola."

12     A    Yes.     In other words, I'm assuming he made that

13          request.

14     Q    Okay.     I mean is that what the e-mail says?

15     A    Yes.     That's why my assumption is that he made

16          the request.

17     Q    Okay.     As opposed to someone else using

18          Ed Gallek's e-mail?

19     A    As opposed to someone else at the news station

20          on his behalf.

21     Q    Okay.     And in this e-mail Ed Gallek also

22          requested the pre-disciplinary, disciplinary

23          paperwork for officer Brian Dalton, correct?

24     A    Yes.

25     Q    And he requested other discipline for other

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                                 #: 64 Evans
                                       Filed: 08/04/20 29 of 383. PageID #: 390
                                                                                  28


 1          supervisors or patrol officers issued since the

 2          previous August regarding traffic stops or

 3          tickets written, correct?

 4     A    Well, the third paragraph down says, "Officer

 5          Dalton filed a recently concerning number of

 6          traffic stops/tickets written and I'm also

 7          requesting any other discipline for any other

 8          supervisors or patrol officers issued since

 9          late August regarding traffic stops/tickets

10          written."

11     Q    Okay.     And what's the final thing he requested?

12     A    "I'm also requesting grievances filed for any

13          of these disciplinary issues or policies

14          concerning the number of traffic stops/tickets

15          written/performance expectations."

16     Q    At the page marked Evans/PTA 099, if you

17          wouldn't mind turning to that.

18     A    I'm at that now, yes.

19     Q    Is that an e-mail from Chief Kilbane to you

20          dated March 8, 2019?

21     A    Yes.

22     Q    Is it correct that Chief Kilbane indicated that

23          the only people who possessed the written

24          reprimand to Officer Dalton were Mr. Mazzola,

25          Mr. Dalton and the Chief?

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                                 #: 64 Evans
                                       Filed: 08/04/20 30 of 383. PageID #: 391
                                                                                  29


 1     A    I'm referring to, "Attached is the reprimand to

 2          Officer Dalton that was requested by the

 3          reporter.     This reprimand was written by

 4          Lieutenant Mazzola, printed out and given

 5          directly to Patrolman Dalton.           It was not

 6          disseminated electronically and the only people

 7          who possessed it were Lieutenant Mazzola,

 8          Patrolman Dalton and myself after it was

 9          presented to Dalton for his signature.             I also

10          included the ORC section below that addresses

11          accessing a computer system beyond the scope of

12          authority.      It is an F-5.      Please let me know

13          if you need anything else."

14     Q    Okay.     That is sufficient.       Thank you.

15                   That's a reference to a potential felony

16          when he says, "F-5."        Correct?

17     A    Yes.

18     Q    So at this point during the course of your work

19          with the City, Mr. Mazzola was being

20          investigated by the City for a felony?

21     A    I don't know.

22     Q    Can you explain?

23     A    I don't know what he was being investigated

24          for.     I think this was provided to me by the

25          Chief for his own reasons as it relates to, as

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                                 #: 64 Evans
                                       Filed: 08/04/20 31 of 383. PageID #: 392
                                                                                  30


 1          I said, the direction of this case.             Whether it

 2          was internal or not was to be determined as the

 3          facts revealed themselves, but I don't know

 4          what was in the Chief's mind in regard to how

 5          it was being investigated or not.

 6     Q    So what is your understanding based on your

 7          communications with Chief Kilbane about why he

 8          sent you this statute in Section 2913.04?

 9     A    Well, you asked for my understanding, and that

10          would simply be to explain the gravity of the

11          situation as he perceived it in that someone

12          had obtained information and sent it outside of

13          the proper protocol for releasing that

14          information to unauthorized parties without

15          going through the communications officer for

16          the City.

17     Q    Did Chief Kilbane ask you to then to analyze

18          the facts and determine whether there was a

19          possible violation of this criminal statute?

20     A    Not necessarily of the criminal statute.              As I

21          indicated earlier, to determine whether or not

22          there was a breach of whether it be policy or

23          procedure.

24     Q    Right.    But I'm asking about what you

25          specifically did with this statute, Section

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                                 #: 64 Evans
                                       Filed: 08/04/20 32 of 383. PageID #: 393
                                                                                  31


 1          2913.04?

 2     A    I didn't do anything with the statute.             I think

 3          it was just information he was supplying to me

 4          to identify what he perceived to be the

 5          severity of the situation in the City of

 6          Independence.

 7     Q    Did you read that statute at the time he sent

 8          it to you?

 9     A    I don't know whether I read it at the time he

10          sent it to me or not.

11     Q    Did you read it during your investigation?

12     A    I probably did.

13     Q    After you did the initial round of interviews

14          on March 13, did you think that there was a

15          violation of section 2913.04?

16     A    I don't think I ever arrived at that conclusion

17          or opinion.

18     Q    So no?

19     A    No.    Once again, the purpose of my

20          investigation was to determine who had released

21          information outside of proper City protocol.

22          That was really the scope of the investigation.

23          It wasn't beyond that.

24     Q    Did Chief Kilbane give you the document that is

25          on the page labeled Evans/PTA 087?

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                                 #: 64 Evans
                                       Filed: 08/04/20 33 of 383. PageID #: 394
                                                                                  32


 1     A    Yes.

 2     Q    Is this a document dated January 7, 2019?

 3     A    Yes.

 4     Q    Can you identify the document, please?

 5     A    It's to Patrolman Brian Dalton from

 6          Lieutenant Len Mazzola, copy to Chief Michael

 7          Kilbane, dated January 7, 2019 referencing

 8          performance standards between October 1 of 2018

 9          and December 31 of 2018.

10     Q    Is it correct that where there is a signature

11          line at the bottom of this document that

12          someone has written, "Refused.           No just cause.

13          I was threatened and am signing this under

14          duress."

15     A    Yes.     I see that written in there in

16          handwriting as opposed to typed.

17     Q    Were you provided with any other versions of

18          this written reprimand document?

19     A    Not that I know of, no.

20     Q    And to be more specific, were you provided any

21          version of this document that was not signed

22          and did not contain that writing that we just

23          referenced?

24     A    Not that I recall, no.

25     Q    Let's turn back to your activity logs at

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                                 #: 64 Evans
                                       Filed: 08/04/20 34 of 383. PageID #: 395
                                                                                  33


 1          Evans/PTA 102 and 103, please.

 2     A    Okay.

 3     Q    As we discussed earlier, these logs provide a

 4          chronology of your activity on this matter,

 5          correct?

 6     A    Yes.

 7     Q    As we sit here today and you look at these, is

 8          there anything missing from these activity

 9          logs?

10     A    It's possible.

11     Q    Anything that you can recall that you would add

12          to it now?

13     A    It's been a year.        I can't recall anything that

14          I would add to it offhand.

15     Q    But as we sit here today, do you think that

16          these are complete?

17     A    Well, I don't know if we're always able to

18          capture all of our time on any type of a case

19          or activity, especially when you're doing

20          several things at one time.

21     Q    I think all of the parties know that.

22     A    Yeah.     That's why I'm saying that qualifying it

23          in that way.      I just don't know of any time

24          that I've ever been able to capture everything

25          and anything necessary, but I did the best I

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                                 #: 64 Evans
                                       Filed: 08/04/20 35 of 383. PageID #: 396
                                                                                  34


 1          could, let's put it that way.

 2     Q    Okay.     Sure.   And, again, this isn't a trick

 3          question.     I'm just trying to see if there's

 4          anything that you can recall as we sit here

 5          right now that's not on this log that you would

 6          like to add to it?

 7     A    No.     And for clarity, I'm not perceiving it as

 8          a trick question.        I'm just trying to answer it

 9          as best I can.

10     Q    Good.     Who is Mike Esposito?

11     A    Mike Esposito is an attorney with the law firm

12          of Clemans Nelson.

13     Q    What relevance did he have to your work on this

14          matter?

15     A    I think he was the person who referred the

16          City of Independence to me because he and

17          Clemans Nelson represent the City in reference

18          to employment labor issues.

19     Q    Who is Kopp, K O P P?

20     A    Ron Kopp is a friend of mine and an attorney in

21          the Akron area.

22     Q    What did he have to do with this matter?

23     A    Other than he's a friend of mine, nothing.

24     Q    And you talked to him in connection with your

25          work on this matter?

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                                 #: 64 Evans
                                       Filed: 08/04/20 36 of 383. PageID #: 397
                                                                                  35


 1     A    Yes.

 2     Q    Why did you talk to Kopp about this matter?

 3     A    I had contacted Ron Kopp because the Chief had

 4          indicated that the investigation fit squarely

 5          into a case that he was referring to that he

 6          uses as lecture material in a course that he

 7          teaches.

 8     Q    What case is that?

 9     A    I don't remember what the case is.

10     Q    What was the case about?

11     A    I don't remember.        Well, I never read the case,

12          so I really don't know what the case was

13          actually about.       I know the general content of

14          the case had to do with some disclosures of

15          some type, but I don't know the case because I

16          never read it.

17     Q    And I understand you haven't read it, but tell

18          me what Kopp told you about this case?

19     A    He didn't tell me anything about the case.

20     Q    Then why were you talking to Kopp about this

21          matter?

22     A    As I said, because the Chief had indicated that

23          this case of dissemination of information in

24          the manner in which it allegedly occurred at

25          the City of Independence was similar to the

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                                 #: 64 Evans
                                       Filed: 08/04/20 37 of 383. PageID #: 398
                                                                                  36


 1          case that he was referring to and it was a call

 2          that I had made to Ron to show that I was doing

 3          an investigation for the City of Independence

 4          and explained to Ron the circumstances and the

 5          fact pattern in general and to make sure that

 6          this was good, solid ground to proceed under.

 7     Q    What did Ron tell you?

 8     A    He said sure, there was no problem.

 9     Q    Did you speak with Mr. Kopp about any

10          First Amendment issues?

11     A    Well, Ron Kopp is a First Amendment lawyer and

12          he represents the media and he's well known for

13          that.    And I knew that Ron Kopp had represented

14          the Akron Beacon Journal and was their lawyer.

15          And Ron was my neighbor at one time, so he was

16          a convenient call to make.

17     Q    So you did talk to him about the First

18          Amendment, correct, and how it related to this

19          case?

20     A    If it had to do with the fact pattern of that

21          case that I am referring to that I don't know

22          the name of, it had to do with the First

23          Amendment.      But I can't tell you as I sit here

24          whether that case had to do with exactly

25          First Amendment issues or not because, as I

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                                 #: 64 Evans
                                       Filed: 08/04/20 38 of 383. PageID #: 399
                                                                                  37


 1          said, I never read that case.

 2     Q    What else did Mr. Kopp tell you in your

 3          conversation with him about your investigation

 4          for the City of Independence?

 5     A    As I said earlier, I just laid out the general

 6          fact pattern of the City of Independence and

 7          went over those issues with him as to whether

 8          or not my investigation was good to proceed as

 9          we had decided it to proceed with interviews

10          and with what I knew would be potential

11          polygraph examinations later on potentially.

12     Q    Did you have this conversation with Mr. Kopp on

13          March 14 as reflected in your activity log on

14          page Evans/PTA 103?

15     A    Yes.     I could have called Ron a day or two

16          before and he was delayed in getting back with

17          me and, if my memory serves me, that's what

18          happened.     He may have been out of town or

19          something like that.        I just don't have any

20          specific recollection of that.

21     Q    So on March 14 you called him and told him

22          about the results of your initial round of

23          interviews, correct?

24     A    No.     I didn't say I called him on March 14.            I

25          spoke to him on March 14.          I said my best

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                                 #: 64 Evans
                                       Filed: 08/04/20 39 of 383. PageID #: 400
                                                                                  38


 1          recollection is I had contacted him sometime

 2          before that and he was out of town or something

 3          like that and returned my call.

 4     Q    So you spoke with Mr. Kopp on March 14 after

 5          your first round of interviews, correct?

 6     A    That's correct.

 7     Q    You also spoke with Mike Esposito on March 14

 8          as reflected in that same entry on your

 9          activity log, correct?

10     A    I updated Mike Esposito on March 14, as my

11          activity log indicates.

12     Q    What did you discuss or communicate to Mike

13          Esposito on March 14 of 2019?

14     A    Just in general what the interviews had

15          produced.     I don't have any specific

16          recollection of what I communicated to him

17          though.

18     Q    Did you discuss any First Amendment issues with

19          Mr. Esposito on March 14 of 2019?

20     A    I don't know about that.

21     Q    On that same entry it says, "Both say no

22          problem but retaliation could be a problem."

23          Correct?

24     A    Yes.

25     Q    If I'm reading that correctly, so would both

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                                 #: 64 Evans
                                       Filed: 08/04/20 40 of 383. PageID #: 401
                                                                                  39


 1          refer to Mr. Kopp and Mr. Esposito?

 2     A    No problem.      I don't know what "no problem"

 3          actually means a year later, other than

 4          proceeding with the investigation it could have

 5          been referencing conducting polygraphs or

 6          something else.       I don't know what that means.

 7     Q    Let's back up to what my question was, which

 8          was when it says, "Both say no problem", and in

 9          that same entry you've mentioned Mr. Esposito

10          and Mr. Kopp, does the word "both" refer to

11          Mr. Esposito and Mr. Kopp?

12     A    Yes.

13     Q    And then going onto the substance of what that

14          means, you're saying you don't remember what

15          you meant by saying that both Mr. Esposito and

16          Mr. Kopp said no problem?

17     A    Not specifically I don't know.

18     Q    Does the fact that that came directly after a

19          reference to the First Amendment issue jog your

20          memory about whether they were saying there was

21          no problem with the First Amendment?

22     A    Well, as I testified earlier, I'm tying that

23          back to that case that I'm referring to having

24          to do with what Chief Kilbane taught in that

25          course that he referred to.

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                                 #: 64 Evans
                                       Filed: 08/04/20 41 of 383. PageID #: 402
                                                                                  40


 1     Q    Can you explain the meaning of the next part of

 2          that sentence in the entry dated March 14, 2019

 3          that says, "But retaliation could be a

 4          problem."

 5     A    I don't know if that's an editorial comment on

 6          my part or what, but retaliation in what sense.

 7          And the characterization in this activity log

 8          would be speculation at this point on my part.

 9     Q    So are you saying you don't know what you meant

10          whenever you wrote, "Retaliation be could be a

11          problem" in that entry?

12     A    No.    I know what it meant in terms of what the

13          words state, but I don't know whether that's an

14          editorial comment or a comment that was -- I

15          don't know why I put that in there.             I don't

16          know the specific reason I put that in there.

17     Q    You don't know why you put that in there, but

18          tell me what you meant by it?

19     A    Well, retaliation is an issue that's separate

20          and apart from a dissemination of information

21          outside of proper protocol.          This case and this

22          investigation had to do with dissemination of

23          information, as we discussed earlier, and

24          retaliation would be separate from a

25          dissemination of information as a different

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 42 of 383. PageID #: 403
                                                                                  41


 1          issue entirely.

 2                   So, as I said earlier, it could have been

 3          an editorial comment offered by Ron Kopp.              And

 4          as I was speaking to him, I know that when he

 5          called me or we talked, he caught me off guard

 6          because I wasn't at my desk at that time and I

 7          was doing a couple of things at once, so I

 8          don't know why those words are recorded as they

 9          are.

10     Q    What is your understanding of the meaning of

11          retaliation?

12     A    Getting back at someone, in lay language.

13     Q    How about in legal language what does

14          retaliation mean in the context of this entry?

15     A    You broke up.      I'm sorry.      What was that again?

16     Q    What does retaliation mean in the context of

17          this entry?

18     A    Well, I don't know what it means in the context

19          of that entry.       That's what I was driving at.

20     Q    So you don't know retaliation from whom?

21     A    No.

22     Q    You don't know retaliation against whom?

23     A    No.

24     Q    You don't know if this was referring to

25          First Amendment retaliation?

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                   CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 43 of 383. PageID #: 404
                                                                                  42


 1     A    I don't know based on that comment.

 2     Q    Do you think that Mr. Kopp or Mr. Esposito

 3          would know what that was referring to?

 4     A    Mr. Kopp or Mr. Esposito, they may, they may

 5          not.     I don't know.

 6     Q    Did you initially raise the possibility of a

 7          First Amendment issue?

 8     A    As I recall, it was raised as a result of that

 9          case that I was referring to.

10     Q    Who raised the issue?

11     A    Well, in asking me to go back a year and say

12          who raised it, I don't know who raised what

13          issue in terms of what context, as I had

14          indicated.      But what I recall is that the Chief

15          had indicated that he lectured on that topic.

16          I think you would probably need to ask the

17          Chief about the topic that he lectured on.

18     Q    Sure.     Put in a little different way because I

19          know you're a lawyer, did you spot the issue?

20          Did you spot the issue of a possible First

21          Amendment issue and talk to the Chief about it

22          before he brought up that Mr. Kopp lecture on a

23          case that might be related?

24     A    I think it's outside of that context in the

25          sense that I was sensitized to that topic in

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                   CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 44 of 383. PageID #: 405
                                                                                  43


 1          general.     And the reason I was sensitized to

 2          that topic in general is because I've had other

 3          cases where that issue was raised as a specter

 4          and I was simply sensitized to that topic based

 5          on the case that I continue to refer to.

 6     Q    So you brought up the possibility that there

 7          would be a First Amendment issue in this

 8          investigation?

 9     A    I didn't say that.

10     Q    Okay.    Well, that was my question.          Did you

11          bring up the First Amendment issue first or did

12          someone else?

13     A    I just said I don't know.          I don't have the

14          memory of how or why that topic was brought up,

15          but the topic was brought up in the context as

16          I recall it.      I'll have to repeat this several

17          times and I don't want to continue to do that

18          and I don't perceive your question as being a

19          trick question.       I'm just reiterating what I've

20          already said.      As I recall, it came up in the

21          context in some way of that case that was

22          referred to by the Chief.

23     Q    When you were doing work for this matter, did

24          you have concerns about whether there would be

25          issues of violating Mr. Mazzola's First

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 45 of 383. PageID #: 406
                                                                                  44


 1          Amendment rights or anyone's First Amendment

 2          rights?

 3     A    I didn't have that concern because I was

 4          assured and reassured is that there was a

 5          breach of departmental policy when this

 6          information was disseminated.           And the breach

 7          of departmental policy was predicated upon the

 8          fact that there were written policies in place

 9          that any information had to go through the

10          designated communications officer with the

11          City's police department.          And the Chief had

12          indicated and provided me documents that were

13          clearly proprietary in nature as they were

14          described to me, so I didn't have any issues or

15          concerns in that context, and the Chief had

16          assured me that he taught that subject matter

17          and referred to a specific case as authority on

18          that topic.

19     Q    Mr. Evans, did you have any concerns during the

20          course of your work on this matter that any of

21          the actions taken could be construed as

22          retaliation against one of the officers?

23     A    There was not any retaliation of anyone during

24          the course of the investigation because there

25          was a collection of information through

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 46 of 383. PageID #: 407
                                                                                  45


 1          interviews being done, but there was no

 2          retaliation to be concerned about.

 3     Q    Did you have any concerns about whether any

 4          actions taken by the City of Independence

 5          pursuant to your investigation could be

 6          construed as retaliation?

 7     A    I didn't know of whether action was taken

 8          against any employees, nor did I have any

 9          knowledge of any perceived action being taken

10          by any employees to be concerned about other

11          than identifying who had breached the

12          departmental policy in obtaining the documents.

13     Q    Did you reach that conclusion in your

14          investigation?

15     A    Which conclusion?

16     Q    Well, I want to go back to what you were just

17          talking about.       What were the findings of your

18          investigation?

19     A    Wow, that's a broad question in regard to

20          findings.     But there were similarities in what

21          was disseminated that were derived from

22          internal documents involving not only the

23          documents that you've already identified in

24          exhibits in reference to the write-ups or

25          pre-disciplinary actions, but also some other

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 47 of 383. PageID #: 408
                                                                                  46


 1          documents that you referred to that were very

 2          consistent, not only consistent, but

 3          practically verbatim and, in most cases,

 4          in fact, beyond verbatim in reference to the

 5          public records request by Ed Gallek.             So the

 6          parallels were significant, in my opinion,

 7          after evaluating those documents.

 8     Q    What other findings did you make and present to

 9          Chief Kilbane in your investigation?

10     A    Well, other than the parallels, the results of

11          a polygraph examination would be presented to

12          Chief Kilbane.

13     Q    And you did not administer that polygraph

14          personally, correct?

15     A    That's correct.

16     Q    Did you evaluate the results of the polygraph

17          performed by your associate?

18     A    Yes.

19     Q    And what did you tell Chief Kilbane about the

20          polygraph?

21     A    That the preliminary evaluation was deceptive

22          in regards to the issues examined on.

23     Q    What do you mean by preliminary?

24     A    Well, there are algorithms that are evaluated.

25          There are a couple of algorithms that are

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 48 of 383. PageID #: 409
                                                                                  47


 1          evaluated, actually, and there was a hand

 2          scoring done of the charts.          There's an

 3          evaluation of the charts that could be done as

 4          the examination is being conducted.

 5                   And, as I recall, the first communication

 6          that I had with the Chief was after the

 7          polygraph examination was conducted and he was

 8          interested in knowing the results, so that

 9          information was conveyed to him.            And I don't

10          think we would have had time to interpret those

11          results through a hand scoring and evaluate it

12          accordingly at that point, so it would have

13          been a preliminary evaluation at that time.

14                   Because, as I said, I think the

15          communication to the Chief in regard to the

16          results of the polygraph examination was

17          probably sometime in the early, you know, it

18          was probably after 4:00, but I don't remember

19          exactly when.

20     Q    Referring to your activity log on page

21          Evans/PTA 102, on the first entry is it correct

22          that you called Mike Esposito on March 22 to

23          brief him about polygraph?

24     A    Yes.     That's what the entry indicates, yes.

25     Q    What did you tell Mr. Esposito in that

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 49 of 383. PageID #: 410
                                                                                  48


 1          conversation?

 2     A    Going back, I don't know precisely what the

 3          details of that conversation would have

 4          included over a year ago.          It looks like I

 5          briefed him about the polygraph.

 6     Q    Tell me what you remember about what you said

 7          and what he said during that conversation?

 8     A    I honestly can't toll you any details that I

 9          remember about that conversation.

10     Q    Did he raise any concerns about First

11          Amendment?

12     A    Not that I recall, no.

13     Q    Did he raise any concerns about retaliation?

14     A    Not that I recall, no.

15     Q    Did he raise any concerns about retaliatory

16          discharge?

17     A    I don't even know that that would have been

18          talked about at that point.

19     Q    Did he raise anything about wrongful discharge?

20     A    I don't recall.

21     Q    We talked a little earlier about these activity

22          logs and how they weren't necessarily exactly

23          contemporaneous, but these entries were written

24          reasonably contemporaneously, correct?

25     A    Reasonably, yes.

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 50 of 383. PageID #: 411
                                                                                  49


 1     Q    So maybe you would go back and add something

 2          you did the day before or something, right?

 3          But we're not talking months later or weeks

 4          later you would add things back in, correct?

 5     A    No.     No.   No.   It was within reasonable time

 6          proximity.

 7     Q    About how reasonable?         What's your usual

 8          practice?

 9     A    Within a couple days I would say or less.

10     Q    Also on March 22 of 2019 your activity log

11          reflects that you had a telephone conference

12          with the Mayor, the Chief, the Law Director,

13          the HR Director and Mr. Esposito, correct?

14     A    Yes.     It looks like there was a call in to be

15          made at 1:30 to a particular number.

16     Q    What was discussed in that call with these

17          people from the City of Independence and

18          Mike Esposito?

19     A    I don't remember what the discussion was in

20          particular, other than the generalized place

21          where we were on the investigation with, as

22          I've already testified to, the similarities in

23          the documents and the polygraph examination.

24                   You know, I note something here.          I'm not

25          positive every single person was on that call,

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 51 of 383. PageID #: 412
                                                                                  50


 1          but that was who was to be on the call.

 2          Because I've got a call in notations here, and

 3          at times I write on my activity log when

 4          something is to be taking place, so it looks

 5          like seven people to be on that call.             I don't

 6          know that every single person was on the call,

 7          but I can tell you that that's who was supposed

 8          to be on the call.

 9     Q    Did anyone raise any concerns about the

10          First Amendment during that call with respect

11          to your investigation and the actions to be

12          taken as a result of your investigation?

13     A    That detail is not noted and my answer would

14          have to be I don't know.

15     Q    Do you remember anyone raising any concerns

16          during that call about retaliation with respect

17          to your investigation or the results of your

18          investigation?

19     A    No.    I don't remember that.

20     Q    How long does it usually take to produce a

21          report following a polygraph exam?

22     A    Well, as I said, a report would be, you know, a

23          verbal report, a soft report and then a hard

24          analysis.

25     Q    Tell me the hard analysis?

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 52 of 383. PageID #: 413
                                                                                  51


 1     A    Yeah.     The hard analysis it may take -- hand

 2          scoring and so forth coupled with algorithm

 3          evaluations, it may take up to two hours to

 4          complete.

 5     Q    Why did your associate polygrapher not issue a

 6          report until December 2019 for Mr. Mazzola,

 7          over nine months after the polygraph took

 8          place?

 9     A    We weren't providing any reports of any kind

10          because there is a lot of time that it takes to

11          create a report, so that's why there was no

12          report completed or even created regarding the

13          investigation.       And the polygraph was part and

14          parcel to the investigation and that report was

15          not requested until then.          When it was

16          requested, we supplied a report.

17     Q    Why was time a concern?

18     A    Time?

19     Q    You mentioned that you did not prepare a report

20          because it takes a lot of time to prepare a

21          report.     Why was time an issue?

22     A    Well you're talking about time on case or time

23          on task?

24     Q    I'm asking you whatever you meant when you said

25          that it took time to create a report and that's

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 53 of 383. PageID #: 414
                                                                                  52


 1          why you didn't do it until nine months later

 2          when it was requested.         Was it a budget issue,

 3          sir?     Was the City trying to avoid paying for

 4          the report at that juncture?

 5     A    No.     That wasn't the reason at all.

 6     Q    Then what was --

 7     A    Well, the reason the report was produced, as I

 8          understood and remember, was because in the

 9          pleading there was a -- I don't remember what

10          it was exactly, but there was an inference of

11          something having to do with a polygraph that

12          was incorrect, that there was something in my

13          office that was alluded to in the pleading that

14          was not only incorrect, but also casting

15          dispersion on Ken Butler's integrity of some

16          kind in rendering the report.           If I looked at

17          the pleading, I would be able to tell you

18          exactly what it was.

19     Q    And as we sit here, you don't know what that

20          is?

21     A    I can look at the pleading and tell you, but

22          you're asking me why the report was issued, and

23          it was in order to correct that incorrect

24          language, verbiage or inference in the

25          pleading.

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 54 of 383. PageID #: 415
                                                                                  53


 1     Q    Let's go back to my original question which was

 2          why did you not produce a report?            Why did your

 3          company not produce a report right after the

 4          polygraph?

 5     A    Well, it was simply because Lieutenant Mazzola

 6          resigned and there was no reason for a report

 7          to be issued.

 8     Q    Who asked you to issue the report after

 9          Mr. Mazzola filed this lawsuit?

10     A    It was a law firm representing -- let me think.

11          It was -- I'm trying to remember the name of

12          the law firm.      It was Mr. Doyle, I believe.

13     Q    Did Chief Kilbane ask you to give a polygraph

14          to anyone other than Mr. Mazzola?

15     A    Well, after Mr. Mazzola showed deception

16          indicating a problem, the investigation wasn't

17          necessarily complete.         And when he tendered his

18          resignation, there was no need to conduct an

19          examination on anyone else at that point.

20     Q    Why not?

21     A    Well, I didn't know that he had resigned.              I

22          didn't know that there was -- anything that

23          happened.     I had called the Chief to see what

24          else we needed to do and he indicated that

25          Lieutenant Mazzola resigned and I was kind of

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 55 of 383. PageID #: 416
                                                                                  54


 1          caught off guard because no one had informed me

 2          that had occurred.

 3     Q    So going back to my question, why was there no

 4          need to do a polygraph for anyone else after

 5          Mr. Mazzola resigned?

 6     A    I think they decided to unilaterally terminate

 7          the investigation at that point because there

 8          was no point in proceeding.

 9     Q    But why was there no point in proceeding?

10     A    You would have to ask them.          I don't know.

11     Q    Okay.    Is that something they told you?            Did

12          they tell you there's no point in proceeding?

13     A    No.

14     Q    Okay.    Then where is that coming from, that

15          inference?

16     A    It's just my generalized conclusion of the

17          facts at that point.        The information that we

18          examined on for the purpose of the polygraph

19          was predicated upon those similarities in the

20          dissemination of information, as I had

21          testified to earlier, and the highlighted areas

22          on several documents all ending up in the

23          public records request.         And it appeared as

24          though the public records request was merely

25          issued to cover the fact that information was

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 56 of 383. PageID #: 417
                                                                                  55


 1          already in hand or as a possibility that that

 2          was the case.      To identify then the concerns,

 3          the polygraph was conducted.

 4                   Lieutenant Mazzola had narrowed the field

 5          of potential people who could have disseminated

 6          that to the news media to include himself, the

 7          Chief and some other individuals on that list,

 8          and his polygraph ended up deceptive.

 9                   So I'm speculating when I say that they

10          probably had no reason to proceed in their

11          minds.     Maybe I'm wrong on that speculation and

12          I don't want to speculate and I would pull that

13          back, but I really don't know the reason why

14          the investigation didn't go beyond that.

15     Q    Did they conclude that Mr. Mazzola shared the

16          information with the media?

17     A    Did they conclude that?         I don't know.

18     Q    Did you conclude that?

19     A    I concluded that there was deception on the

20          polygraph.

21     Q    Okay.     So you gave them the results of the

22          polygraph showing results indicative of

23          deception, correct?

24     A    Yes.

25     Q    And then they terminated your investigation,

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                   CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 57 of 383. PageID #: 418
                                                                                  56


 1          correct?

 2     A    I don't know if they carried the investigation

 3          on beyond what I did or not.           There were some

 4          loose ends that needed to be checked out, as I

 5          recall.

 6     Q    What loose ends would you have checked out?

 7     A    You're stretching my memory again, but what

 8          comes to mind was that there was a -- it's in

 9          some of the documents and I just don't remember

10          what the name of this IT issue might have been

11          as to whether it was captured -- in other

12          words, I'm referring specifically to the

13          disciplinary notice and the pre-D write-up; the

14          pre-D write-up and the pre-D notice of Officer

15          Dalton and Lieutenant Mazzola.

16                  Lieutenant Mazzola had indicated to me

17          that his notice was placed in an envelope on

18          his keyboard and it was tri-folded in an

19          envelope.     And being placed on his keyboard, it

20          was an original.       And the Chief had indicated

21          that there was only one of those copies

22          generated and Lieutenant Mazzola got that copy.

23          And, as a result, it ended up in the hands of

24          the news media in some way, along with

25          Brian Dalton's write-up and pre-disciplinary

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 58 of 383. PageID #: 419
                                                                                  57


 1          action.     And those were items that were not

 2          common, popular or to be disseminated outside

 3          of the police department.

 4                  Brian Dalton had told me that absolutely

 5          he was very upset about the fact that it was

 6          disseminated.      Lieutenant Mazzola was very

 7          upset about the fact that information, as he

 8          indicated to me, was retrieved from potentially

 9          his office out of a very thick binder that he

10          had ultimately placed that tri-fold in.

11                  And the loose end that I'm referring to

12          is whether or not that document had been

13          disseminated in some way and captured within

14          the computer system as a pdf file of some kind,

15          which was never nailed down in that regard.

16          And, as I said, that was a loose end that I had

17          intended to check out, but Lieutenant Mazzola

18          had resigned in the meantime and the

19          investigation was terminated.

20     Q    Did you intend to have a polygraph exam done on

21          anyone else?

22     A    I'm sorry.      Repeat that, please.

23     Q    I'll rephrase it even.

24                  Did you plan to have anyone else undergo

25          a polygraph exam at the City of Independence

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 59 of 383. PageID #: 420
                                                                                  58


 1          Police Department?

 2     A    Well, the Chief had always indicated that more

 3          than one person could potentially have been

 4          involved in some way, but I didn't know if

 5          anyone else was involved or not.

 6     Q    Sir, I would like you to answer my question.

 7                  Did you plan or want to have anyone else

 8          do a polygraph exam?

 9     A    I never told the Chief that I wanted to test

10          anyone else after the examination was completed

11          on Lieutenant Mazzola.

12     Q    But did you want to have anyone else do a

13          polygraph exam?

14     A    By name, no.      In the beginning potentially

15          others could be examined besides just one,

16          naturally.

17     Q    Did the Chief ask you to have anyone else do a

18          polygraph exam?

19     A    No.

20     Q    Did the Chief think that Mr. Mazzola was the

21          person who gave the information to the media

22          based on what he told you?

23     A    I don't know.      I think Lieutenant Mazzola was

24          on the list of potential suspects.

25     Q    He didn't give you an indication about whether

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 60 of 383. PageID #: 421
                                                                                  59


 1          he thought Mr. Mazzola was the person who

 2          disclosed or not?

 3     A    No.     And, actually, he thought that potentially

 4          Brian Dalton may be involved in it because of

 5          his write-up and others could potentially have

 6          been involved in some other way, others being

 7          unidentified by name.

 8     Q    I would like to you refer to Plaintiff's

 9          Exhibit 3, please, which is the news article

10          by Ed Gallek dated May 3, of 2019.

11                            THE NOTARY:      Before we start on

12          this document, can we take a quick break?

13                            MS. SAVOIE:      We can take a quick

14          break.

15                            (Recess taken.)

16     Q    Mr. Evans, before we took a restroom break we

17          were looking at Plaintiff's Exhibit 3.             Can you

18          identify that document, please?

19     A    Yes.     It's by Ed Gallek and it's May 3, 2019,

20          7:43 p.m., Independence, Ohio.           "Fox I-Team

21          found the Independence Police Department hired

22          an outside firm" that you referred to earlier.

23     Q    Yes.     And is it correct that within the last

24          few days you looked at this article on the

25          internet?

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                   CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 61 of 383. PageID #: 422
                                                                                  60


 1     A    I just looked at it this morning.            Can you see

 2          me all right on my picture?

 3     Q    Yeah.     I can see you better now.         Thank you for

 4          adjusting.

 5                   So you read this this morning online,

 6          correct?

 7     A    Yes.

 8     Q    Have you ever watched the video or did you see

 9          it live?

10     A    No.     I don't think I ever -- I don't remember

11          ever seeing it before today.

12     Q    Did you watch the video today?

13     A    No.

14     Q    Do you see that Ed Gallek stated in that

15          article that Mr. Mazzola did not provide any

16          information to the news team?

17     A    However, he never supplied -- "During the

18          internal investigation one police supervisor

19          retired.     Multiple sources said he left under

20          pressure, however, he never supplied any

21          information to the I-Team."

22                   I don't see that it says that he didn't

23          do it.     I see that -- I mean I'm taking

24          literally what the words say.           "However, he

25          never supplied any information to the I-Team"

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                                 #: 64 Evans
                                       Filed: 08/04/20 62 of 383. PageID #: 423
                                                                                  61


 1          is a statement.       I don't see that it says that

 2          he said Lieutenant Mazzola said he never

 3          supplied that, so I don't agree with that

 4          conclusion.

 5     Q    You don't agree that this news article says,

 6          "He never supplied any information to the

 7          I-Team", referring to the police supervisor who

 8          retired?

 9     A    I'm reading exactly what it says and it says,

10          "However, he never supplied any information to

11          the I-Team."      I see that as that's Ed Gallek

12          speaking and not Lieutenant Mazzola, because it

13          isn't a quote.

14     Q    Right.     No one is saying that this is

15          Leonard Mazzola speaking in this article.

16          This is an article written by Ed Gallek

17          according to the byline, correct?

18     A    Right.     I misunderstood your question.          If it

19          could be read back, the original question,

20          maybe I misheard it.

21     Q    I'll ask it again.        I'm not trying to make this

22          complicated.      I'm just trying to establish

23          what's written here in the article.

24                   Is it correct that this article says that

25          this police supervisor who retired never

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                                 #: 64 Evans
                                       Filed: 08/04/20 63 of 383. PageID #: 424
                                                                                  62


 1          supplied any information to the I-Team?

 2     A    And as I said, what I'm -- and I'm not making

 3          it complicated either.         I don't want it to be

 4          perceived that way.

 5                   The words say that he never supplied any

 6          information to the I-Team as being that is

 7          Ed Gallek's interpretation and presented in

 8          statement form.       I don't see a quote that as

 9          most news reporters would do, if it's a

10          verbatim statement, put it in quotes as to

11          that's the information that is being

12          identified.

13                   So the way I understood your question

14          earlier was that Lieutenant Mazzola told

15          Gallek, and I don't see it as that being the

16          way it's disclosed here in this text form, the

17          narrative.

18     Q    Right.     So the question is, is it correct that

19          this news article says that Mr. Mazzola was not

20          the person to supply information to Ed Gallek?

21     A    And as I said already, that's not what it says.

22          That would be an incorrect interpretation as to

23          what I'm reading.        It doesn't say that.

24                   If it said that, my familiarity with news

25          reporters would be it's a quoted type of

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                                 #: 64 Evans
                                       Filed: 08/04/20 64 of 383. PageID #: 425
                                                                                  63


 1          response and it is preceded by, "He said" or,

 2          "Lieutenant Mazzola said" or, "So and so said",

 3          and then it's quoted thereafter.            But that's

 4          not what I'm reading in text form.

 5     Q    Who would be quoted to say what the I-Team

 6          knew?     Are you saying that you would expect one

 7          of their reporters to quote themselves in this

 8          article and that's why you won't agree that

 9          this is what this says?

10     A    No.     That's not what I'm saying at all.

11                   Let's go over this the way I'm

12          interpreting it.       That's what you're asking me

13          for.     "During the internal investigation one

14          police supervisor retired."          That's a statement

15          by Ed Gallek.

16                   "Multiple sources said he left under

17          pressure."      That's conjecture.       That's

18          third-party information.         I categorize that as

19          hearsay.

20                   "However, he never supplied any

21          information to the I-Team."          It doesn't

22          indicate that the source of that statement is

23          Lieutenant Mazzola.        I don't know who the

24          source of that information is.           And the way I

25          understood your original question was that it's

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                                 #: 64 Evans
                                       Filed: 08/04/20 65 of 383. PageID #: 426
                                                                                  64


 1          Lieutenant Mazzola who said he never supplied

 2          information to the I-Team.

 3     Q    I'm not asking anything about what Mr. Mazzola

 4          said.     I'm asking about what this news article

 5          says.

 6                   Does this news article say that the

 7          police supervisor who retired never supplied

 8          any information to the I-Team?

 9                            MR. STRANG:      Objection.

10                            MR. SNYDER:      Objection also.

11          This is Brad Snyder.        I object.     This is

12          getting argumentative about something the

13          witness had no involvement in preparing.

14     Q    Mr. Evans, are you seriously saying that you

15          don't understand this paragraph in this

16          article?

17     A    I never said that.

18     Q    Tell me what your understanding of this

19          paragraph of this article is?

20                            MR. STRANG:      Objection.

21     A    No.     I understand what I'm reading.          So what

22          I'm reading is an interpretation by a news

23          reporter based on multiple sources who are

24          unidentified that states that the reporter

25          states and concludes he never supplied

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                                 #: 64 Evans
                                       Filed: 08/04/20 66 of 383. PageID #: 427
                                                                                  65


 1          information to the I-Team.          So I don't know the

 2          authenticity or the accuracy of that conclusion

 3          by this reporter any more than you do based on

 4          what you're reading, what I'm reading.

 5     Q    Okay.     I think I understand what you're saying.

 6                   Let's back up for a second and if you

 7          would go up to the beginning of the article

 8          which is page 2 of the 13-page pdf.

 9                   Do you see where the byline says,

10          "By Ed Gallek"?

11     A    Yes.

12     Q    And do you remember Ed Gallek was the reporter

13          who came to the police station and who made

14          public records requests indicating that he had

15          knowledge of the information that had been

16          provided to the media?

17     A    Yes.

18     Q    Do you remember he was the person who wrote

19          that article that came out January 14 of 2019?

20     A    Yes.

21     Q    Okay.     And do you understand that he is an

22          I-Team reporter?

23     A    Yes.

24     Q    Okay.     So you understand that Ed Gallek can

25          speak on behalf of the I-Team, correct?

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                                 #: 64 Evans
                                       Filed: 08/04/20 67 of 383. PageID #: 428
                                                                                  66


 1                            MR. STRANG:      Objection.

 2     Q    This is not complicated.         I mean Ed Gallek is

 3          the reporter who was publishing stories about

 4          the information from the Independence Police

 5          Department, correct?

 6     A    Yes.

 7     Q    And he is saying here as a statement of fact

 8          that Lenny Mazzola never supplied any

 9          information to the I-Team, correct?

10     A    He's not stating that as fact.

11     Q    Are you in the prior sentence assuming that for

12          some reason he's continuing to refer to,

13          "Multiple sources said he left under pressure"?

14     A    If you could be clearer as to how that's a

15          statement of fact that Lenny Mazzola did not

16          supply it, I might understand the question

17          better.

18     Q    Okay.     If the statement is, "However, he never

19          supplied any information to the I-Team" and

20          that is something written by the I-Team, isn't

21          that a statement of fact?

22     A    The statement of fact is not predicated on

23          accuracy other than sources unidentified.              If I

24          had interviewed those individuals and I knew

25          that they had said something, then I could say

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                                 #: 64 Evans
                                       Filed: 08/04/20 68 of 383. PageID #: 429
                                                                                  67


 1          it's a statement of fact.          Since I don't know

 2          who these interviews are of, how many there are

 3          and it's ambiguous in that regard, I don't know

 4          that that's the case at all.           It's a

 5          speculation on my part, as I would assume it

 6          would have to be a speculation on your part

 7          that Lenny Mazzola is saying, "I never supplied

 8          the information."

 9     Q    If I said to you that someone did not tell me

10          something, would that require speculation on my

11          part --

12                            MR. STRANG:      Objection.

13     Q    -- or do I have personal knowledge of what

14          people told me?

15     A    Let me be clear on what I'm trying to convey

16          here.     There is nothing in the narrative that I

17          see -- if it's there, please point it out to me

18          because I don't see it -- that he, Lenny

19          Mazzola, said anything.         However, I do see

20          quotations, "Chief Michael Kilbane said 'send

21          me an e-mail with questions.'"

22                  My point is very simple.         As it relates

23          to a statement made by Lieutenant Mazzola, if

24          it were stated by Lieutenant Mazzola, I would

25          have to believe based on the tenor and way in

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                                 #: 64 Evans
                                       Filed: 08/04/20 69 of 383. PageID #: 430
                                                                                  68


 1          which this is created, that he would have also,

 2          he being Gallek, would have put that in quotes

 3          as well, because I see several things that are

 4          quoted verbatim.

 5                   The next sentence after that, "We

 6          responded with" -- he, Gallek, puts in quotes,

 7          "We've done that."        And he's alluding then to

 8          the previous statement by Chief Kilbane.              So

 9          your conclusion that you're making that

10          Lieutenant Mazzola didn't supply the documents

11          doesn't make sense to me.

12     Q    Okay.     Mr. Evans, please read the short

13          paragraph that begins on page 3 of the pdf that

14          starts with, "During the initial investigation"

15          into the record.

16     A    All right.      Which Bates stamp?

17     Q    It's not Bates stamped.         It's page 3 of the pdf

18          toward the bottom of the page, the paragraph

19          beginning with, "During the initial

20          investigation."

21     A    "During the initial investigation."             All right.

22          You're referring to the May 3, 2019, 7:43

23          document that we've been talking about, you're

24          still referring to that, right?

25     Q    Yes.

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                                 #: 64 Evans
                                       Filed: 08/04/20 70 of 383. PageID #: 431
                                                                                  69


 1     A    "And we've heard about these new traffic ticket

 2          violation quotas she said."

 3     Q    No.     I'm talking about page 3 of 13 of the pdf,

 4          toward the bottom of the page there's a

 5          paragraph that begins, "During the initial" --

 6          I mean, "During the internal investigation."

 7     A    Oh, okay.     Okay.    Okay.

 8     Q    Please read that out loud into the record and

 9          then we'll move on.

10     A    "During the internal investigation one police

11          supervisor retired.        Multiple sources said he

12          left under pressure.        However, he never

13          supplied any information to the I-Team."

14     Q    And to be clear, there's a period after the

15          word "pressure", correct?

16     A    Yes.

17     Q    And the word "however" begins a new sentence,

18          correct?

19     A    Yes.

20     Q    Okay.     Were you aware that Mr. Gallek also

21          acknowledged that Lieutenant Mazzola was not

22          the source who provided him information in a

23          phone call with union representative Chuck

24          Wilson and Lieutenant Mazzola?

25     A    When would that be?        I don't know anything

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                                 #: 64 Evans
                                       Filed: 08/04/20 71 of 383. PageID #: 432
                                                                                  70


 1          about that.      I don't recall anything about

 2          that.

 3     Q    So were you aware of any phone call where

 4          Ed Gallek told Chuck Wilson and Lenny Mazzola

 5          that Mr. Mazzola didn't provide him any

 6          information?

 7     A    Was that during the investigation that you're

 8          referring to?

 9     Q    I'm talking about any phone call you would have

10          heard to that effect.         Were you aware of that?

11     A    No.     I don't know of anything like that.           I

12          know that Lenny Mazzola denied this the whole

13          time.     He denied it to me too, so.

14     Q    So you haven't heard a recording of a

15          conversation with Ed Gallek, Chuck Wilson and

16          Lieutenant Mazzola where Mr. Gallek

17          acknowledges that Lenny was not the source of

18          information?

19     A    No.     If you refresh my memory as to why I

20          should know that, that might help.            But I don't

21          know anything about that.

22     Q    Oh, sir, I'm not saying you should know that

23          necessarily.      I'm just asking if you had

24          knowledge of it.

25     A    No.     I don't recall anything like that.           I mean

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                                 #: 64 Evans
                                       Filed: 08/04/20 72 of 383. PageID #: 433
                                                                                  71


 1          it was -- Lieutenant Mazzola denied involvement

 2          about this, so that was just -- I mean that was

 3          the purpose for the polygraph, right.

 4     Q    But Kilbane never told you that Mr. Gallek

 5          acknowledged that Lenny was not the source,

 6          correct?

 7     A    I don't -- you know, I don't recall anything

 8          like that.

 9     Q    And the Law Director didn't tell you that

10          Mr. Gallek acknowledged that Mr. Mazzola was

11          not the source, correct?

12                            MR. STRANG:      Objection.

13                            MS. SAVOIE:      What's the

14          objection?      Is there a privilege between the

15          Law Director --

16                            MR. STRANG:      Is there a good

17          faith basis for asking these questions?              You

18          can go ahead and ask them, but my objection is

19          on the record.

20     Q    Mr. Evans, you can answer.

21     A    No.    I think I already have.         I knew that

22          Lieutenant Mazzola was denying any involvement

23          categorically.

24     Q    Yes, but I'm asking if anyone told you that

25          Mr. Gallek, Ed Gallek, the reporter who

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                                 #: 64 Evans
                                       Filed: 08/04/20 73 of 383. PageID #: 434
                                                                                  72


 1          reported the information, acknowledged and

 2          specifically said that Lenny Mazzola was not

 3          the source of that information?

 4     A    You know, I could have heard about that at some

 5          point in time by somebody at some point, but I

 6          don't have any specific recollection of that

 7          ever occurring.       But, you know, I certainly

 8          wouldn't say that that might not have come up

 9          at some point in time.         I just have no idea of

10          when or who or what.        I don't have any specific

11          recollection of that.

12     Q    So you have no recollection of anyone saying to

13          you that Gallek had acknowledged Mazzola was

14          not the source, correct?

15                            MR. STRANG:      Objection.

16     Q    I'm just trying to understand what you're

17          saying, sir.      Can you answer the question?

18                            MR. STRANG:      Objection.

19     A    I think I already have answered that question

20          several times.       I don't remember anything like

21          that at any time coming from anybody.             I'm not

22          going to say it didn't happen.           It would be a

23          very minor thing that I wouldn't -- I mean it

24          wouldn't be anything that I would have any

25          reason to recall.

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                                 #: 64 Evans
                                       Filed: 08/04/20 74 of 383. PageID #: 435
                                                                                  73


 1     Q    It would be a minor thing if someone told you

 2          that the news media acknowledged that Lenny

 3          Mazzola was not the source of the information

 4          related to your investigation?

 5     A    It would be in that sense because that was

 6          already on the table as being a denial by

 7          Lenny Mazzola.

 8                   I'm going to go back to what I've already

 9          said.     I have no recollection of any

10          conversation like that at any time with

11          anybody.

12     Q    Your investigation was an attempt to find out

13          who provided information to Ed Gallek, correct?

14     A    Yes.

15     Q    And no one, including Law Director O'Brian,

16          told you that Ed Gallek said Lenny Mazzola was

17          not that source, correct?

18     A    No one that I recall ever told me anyone was

19          the particular source or not the particular

20          source as it related to my investigation

21          objective of trying to determine who it was

22          that I recall, other than the information that

23          I've already testified to that was people who

24          could have potentially had reason or cause to

25          disseminate the information.           Does that answer

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                                 #: 64 Evans
                                       Filed: 08/04/20 75 of 383. PageID #: 436
                                                                                  74


 1          your question?

 2     Q    It provides some information, but I would like

 3          the court reporter to read back my last

 4          question and I would like you to say, "Correct"

 5          or, "Incorrect" so I make sure I understand

 6          you, please.

 7                            (Record read.)

 8     A    Okay.    The answer is I don't recall if anyone

 9          ever said that or not or when, but to my best

10          recollection, it was never stated to me.

11                  Now, I do remember one thing, and it

12          would be during the polygraph that Leonard

13          Mazzola -- or no.        It was maybe during the

14          interview, now that I think about it, before

15          the polygraph that Leonard Mazzola said that

16          there was an I-Team investigation that I had

17          never seen, an investigation type of news

18          commentary of some kind by Ed Gallek, but I

19          don't even remember what that was that he

20          showed me that day during the interview

21          preceding the polygraph.         So if that was what

22          you're referring to and it ties back into what

23          we're talking about now, this I-Team -- let me

24          get the date on it, the one that we've been

25          having this discussion about, then yes, I

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                                 #: 64 Evans
                                       Filed: 08/04/20 76 of 383. PageID #: 437
                                                                                  75


 1          remember that.       But beyond that, I don't have

 2          any specific recollection of anything

 3          associated with what your questioning me about

 4          now.

 5     Q    Okay.     So that was a really long answer and I

 6          appreciate that you're providing information,

 7          but I want everything to be clear here.              Okay?

 8          So I'm not talking about what Lenny Mazzola

 9          said to you during a polygraph or at any time.

10          I'm talking about facts you were told by people

11          related to your investigation.           Okay?

12                   So did anyone ever tell you that

13          Ed Gallek said Lenny Mazzola was not the source

14          of this information that he published about?

15                            MR. SNYDER:      Objection.

16                            MR. STRANG:      Objection.

17                            THE WITNESS:      Can I answer that?

18     Q    Yeah.     You can answer.

19     A    The reason that I'm trying to answer your

20          question is because your question has in it,

21          "Did anyone ever", all right.           That's pretty

22          broad.

23     Q    Yes.

24     A    So the reason that my answer is very long is

25          because anyone ever would include Leonard

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                                 #: 64 Evans
                                       Filed: 08/04/20 77 of 383. PageID #: 438
                                                                                  76


 1          Mazzola, if that's what he pointed out to me

 2          the day that he was in the office for his

 3          polygraph.      If it happened to be the May 3,

 4          2019 -- well, I guess it couldn't have been

 5          because he was in my office in March.

 6                   So yeah, okay.     Back to that.       I don't

 7          have recollection of anything associated with

 8          this line of questioning.

 9     Q    Did Lenny tell you that Ed Gallek had

10          acknowledged that Lenny wasn't the source at

11          the time of the interviews or did Lenny Mazzola

12          tell you that he was not the source?

13     A    As I said earlier, he was categorically denying

14          any involvement in dissemination of any of the

15          information in general.

16     Q    Right.     Do you understand I'm not asking you

17          about what Lenny Mazzola said?           I'm asking you

18          about whether you knew what Ed Gallek had said.

19          Do you understand that?

20     A    Right.     The only conversation I've ever had

21          with Ed Gallek was when he called my office one

22          time and asked me to comment.           I gave him no

23          comment.     So I don't have --

24     Q    Okay.     And so did anyone at any time tell you

25          that Ed Gallek said Lenny Mazzola did not

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                                 #: 64 Evans
                                       Filed: 08/04/20 78 of 383. PageID #: 439
                                                                                  77


 1          provide this information to him?

 2                            MR. SNYDER:      Objection.

 3                            MR. STRANG:      Objection.

 4     Q    I just need yes or no, sir.          Please answer the

 5          question.

 6     A    There are certain questions that can't be

 7          answered yes or no.

 8                  The answer that I've given and I'll

 9          continue to repeat is not that I recall did I

10          ever know that.

11     Q    So as we sit here today, you don't recall

12          anyone ever telling you that Ed Gallek said

13          Lenny Mazzola was not the source, correct?

14     A    I don't recall that.

15     Q    Okay.    Isn't that something that would be

16          important to your investigation and you would

17          probably remember it if someone had told you

18          that?

19     A    If that information was given to me after the

20          investigation ended, which I tried to point out

21          to you this dissemination of information was

22          May 3, 2019 that we've been talking about for

23          the last half hour.

24     Q    And I'm not talking about that right now.              What

25          I'm saying is if you found out that a reporter

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                                 #: 64 Evans
                                       Filed: 08/04/20 79 of 383. PageID #: 440
                                                                                  78


 1          said, "Lenny was not the source", wouldn't you

 2          want to go back and complete your investigation

 3          and find out who the source was as an

 4          investigator?

 5     A    I would like to finish my point.            What day was

 6          the polygraph?

 7     Q    March 20, 2019.

 8     A    Correct.     This dissemination of information by

 9          the I-Team was May 3, a month-and-a-half or so

10          later.     It's irrelevant to me.        The

11          investigation was over and done as far as I

12          knew at that point, so I wouldn't have any

13          interest in knowing whether or not there was

14          some indication about who said what about whom.

15          It wouldn't matter to me at that point.

16     Q    That's because you were no longer doing the

17          work because your investigation had terminated,

18          right?

19     A    That's the point I've been trying to make.              So

20          if it was said, it was said.           If it wasn't

21          said, it wasn't said.

22                   I don't remember it being said, so I take

23          exception to the fact of being pressed on an

24          issue that I've repeatedly said I have no

25          memory of.

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                                 #: 64 Evans
                                       Filed: 08/04/20 80 of 383. PageID #: 441
                                                                                  79


 1     Q    As an investigator if you had learned that

 2          Lenny was not the source -- and I understand

 3          you weren't retained to go back, were you,

 4          isn't that correct?        Chief Kilbane, no one from

 5          the City of Independence retained you to come

 6          back after this news article came out, did

 7          they?

 8     A    No.     We're talking about May 3?

 9     Q    Sure.     Yeah.

10     A    So no.     No, I wasn't retained to go back.

11     Q    So since your investigation was terminated

12          after Lenny Mazzola's polygraph, you haven't

13          been back to do any further investigation for

14          the City related to this dissemination of

15          information, correct?

16     A    That's correct.

17     Q    Right.     And neither Kilbane, nor O'Brian asked

18          you to reopen the investigation, correct?

19     A    Correct.

20     Q    Would you be curious to know who did it if

21          Lenny didn't do it?

22     A    Well, I think anyone would be curious.

23     Q    I think so too.

24                            MR. STRANG:      Objection.     Move to

25          strike.

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 81 of 383. PageID #: 442
                                                                                  80


 1     Q    Were you involved in any discussions about the

 2          Independence Police Department's decisions

 3          related to Mr. Mazzola's employment?

 4     A    He had indicated to me during my questions, he

 5          being Lieutenant Mazzola, how long he had been

 6          employed at the department and when he started

 7          and so forth.      Are you referring to that?

 8     Q    I'm talking about his resignation or retirement

 9          or whatever word you used earlier.            Were you

10          involved in any discussions with anyone from

11          the City about what was going to happen with

12          Mr. Mazzola's employment as a result of the

13          investigation?

14     A    I wasn't employed to give that type of comment

15          or advice or information.          I was employed to

16          investigate the facts as a fact finder.

17     Q    Right.    I understand.       But were you part of any

18          discussions about what was going to happen with

19          his employment because of your investigation

20          even if you didn't have authority to make

21          decisions on that?

22     A    No.    I wasn't involved in making decisions or

23          having any input into what was going to happen

24          with him.     As I testified earlier, it came as a

25          surprise when I found out that he resigned.

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 82 of 383. PageID #: 443
                                                                                  81


 1     Q    So you learned that he resigned because was it

 2          Chief Kilbane called you, is that correct?

 3     A    No.     I called to see if there was any

 4          follow-up.

 5     Q    About when did you call him?

 6     A    I don't know.      It was within a week I would

 7          say, within a week of the polygraph

 8          examination.

 9     Q    Was the polygraph examination on March 20 of

10          2019 the last action in your investigation?

11     A    Yes.

12     Q    So after the polygraph did you go home and

13          await further instructions from the City

14          regarding the investigation?

15     A    Well, this wasn't the only case that I was

16          working on.      I had multiple cases that I was

17          working on and there were other things that

18          were pressing, so in wasn't on my radar screen

19          in that context.

20                   I was merely calling because I had

21          obviously a reason to call.          There was a break

22          in my schedule to see if we had had anything

23          else to do on it.        As I said, there might have

24          been a loose end or two that needed to be dealt

25          with and I hadn't heard anything, so I made a

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 83 of 383. PageID #: 444
                                                                                  82


 1          phone call.

 2     Q    Did you ever hear anything from anyone about

 3          what the City told Mr. Mazzola were his options

 4          based on the results of the investigation?

 5     A    I think that resignation came as a surprise to

 6          whomever it was tendered to and there are

 7          always different options in any of these cases.

 8          So, you know, one option obviously is to do

 9          nothing.     The other option is to -- I mean

10          they're all the same.         All of these types of

11          cases are pretty much the same as it relates to

12          what options are.

13                  So in this particular situation or case I

14          have no idea -- you have to understand that I

15          work on a lot of these cases and have for many,

16          many years, and they all kind of run together

17          in regard to what options may be or may not be.

18     Q    Mr. Evans, let me make the question more

19          specific because we have some time constraints

20          this afternoon.       So did anyone tell you that

21          the City of Independence gave Mr. Mazzola the

22          choice between being demoted from Lieutenant to

23          patrolman and put on the Brady Ohio list or

24          retiring immediately?         Did anyone tell you

25          that?

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 84 of 383. PageID #: 445
                                                                                  83


 1                            MR. STRANG:      Objection.

 2     A    No one told me that they told him that.

 3     Q    Okay.     Thank you.     I'm going to move on

 4          because, like I said, we have time constraints.

 5          And I don't want to cut you off, but I need to

 6          get back to some other questions.

 7                   Did Chief Kilbane or anyone at the

 8          City of Independence provide any other

 9          department policies to you other than what is

10          contained in the documents you've produced that

11          are Plaintiff's Exhibit 2?

12     A    No.

13     Q    Did Chief Kilbane or anyone else from the City

14          tell you that there was a policy against doing

15          polygraph examinations of employees unless

16          there was a criminal investigation?

17     A    Yes, much later after it was conducted.

18     Q    I'm sorry.      Can you repeat that, please?

19     A    I said yes, I found that out much later after

20          the examination was conducted.

21     Q    But at the time you were going in and doing

22          your investigation, no one told you before the

23          polygraph that policy 1033-F-2 prohibited that,

24          correct?

25     A    No.     That was something that I covered before

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 85 of 383. PageID #: 446
                                                                                  84


 1          we ever did that in one of the conversations

 2          either with Mike Esposito or the Chief or

 3          someone and it was -- in fact, I covered that I

 4          think with Sara Liva and during one of the

 5          interviews she had the CBA available to her and

 6          researched that and said that it was silent on

 7          that topic.

 8     Q    So the CBA is the Collective Bargaining

 9          Agreement between the Police Union and the

10          City of Independence, correct?

11     A    Yes.

12     Q    And the Union attorney, Sara Liva, told you

13          that the CBA was silent with respect to the

14          question on whether polygraphs were allowed,

15          correct?

16     A    Yes.

17     Q    And I mean, this is a question you went over

18          with Chief Kilbane, right, about whether

19          polygraphs were allowed, correct?            I mean --

20     A    Well, I don't know if I went over whether they

21          were allowed or not in terms of the context

22          that you put it in, because you had indicated

23          earlier about the criminal investigation aspect

24          of it.     The only time that I went over that was

25          after I was provided the Chief's order which

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 86 of 383. PageID #: 447
                                                                                  85


 1          was, I don't know, was several years old as I

 2          recall.     I saw it then for the first time.

 3     Q    I'm going to send everyone a document in the

 4          chat really quick.

 5                   Is it correct that the first page of that

 6          is a letter from William Doyle to Ashlie

 7          Case-Sletvold, is that correct?           Are we looking

 8          at the same document?

 9     A    Yes.     July 12, 2019 public records request.

10     Q    Yes.     That's the RE line.

11                   If you wouldn't mind going down to page 4

12          of the pdf, please.        And these pages are not

13          numbered, unfortunately, but we can see on the

14          pdf itself.

15                   Okay.     Are you on page 4, sir?

16     A    Yeah.     You said they're not numbered.          What

17          does the page you're referring to -- is it

18          supervisor's responsibility, item Y.

19     Q    No.     The fist letter is F, examinations and

20          searches.

21     A    Okay.     Let me look there.

22     Q    Please read numbers 1 and 2 into the record?

23     A    "Examinations and searches.          The department may

24          direct the employee to undergo an alcohol,

25          blood, urine, psychological, polygraph, medical

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 87 of 383. PageID #: 448
                                                                                  86


 1          exam or any other exam not prohibited by law if

 2          it is believed that such examination is

 3          pertinent to the investigation."            That's item

 4          1.

 5                   Item 2.       "Polygraph examinations shall

 6          only be used in criminal investigations."

 7     Q    We'll introduce this as Plaintiff's Exhibit 4

 8          to your deposition.

 9                             -     -   -   -   -

10                 (Plaintiff's Exhibit 4 was marked.)

11                             -     -   -   -   -

12     Q    Do you see on page 2 of the pdf that this is

13          General Order number 103?

14     A    Yes.     Effective September 5, 2011.

15     Q    And were you given this order number 103

16          whenever you were doing your investigation?

17     A    No.

18     Q    If you had read this, would you have done a

19          polygraph on Mr. Mazzola?

20     A    I probably would have deferred to the

21          Law Director or someone else based on item 2

22          as to how we were proceeding if this were a

23          criminal investigation.

24     Q    But as of March 20 this was an administrative

25          investigation, correct?

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 88 of 383. PageID #: 449
                                                                                  87


 1     A    Yes.

 2     Q    You were doing this under Garrity, correct?

 3     A    Yes.

 4     Q    So if you were making the judgement on your

 5          own, would you have done a polygraph

 6          examination for Mr. Mazzola?

 7                            MR. STRANG:      Objection.

 8     Q    You can answer.

 9     A    As I said, I would have deferred to a higher

10          authority at that point.

11     Q    I understand your impression of the right thing

12          to do.

13                            MR. STRANG:      Objection.

14     A    What I would do is defer to a higher authority

15          on my part.      And the right thing to do on the

16          part of the decision-makers would have been to

17          make the determination as to whether to convert

18          this from Garrity back into a criminal

19          investigation if the polygraph examination was

20          that critical to the outcome.

21     Q    And in your work you only have the documents

22          that your clients provide to you, correct?

23     A    Yes.

24     Q    So if you didn't get this document, you

25          wouldn't be able to conjure it out of thin air,

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 89 of 383. PageID #: 450
                                                                                  88


 1          would you?

 2     A    You broke up the last four or five words.              I

 3          wouldn't feel what?

 4     Q    If someone from the City had not given you this

 5          document, you would have no reason to have it,

 6          correct?

 7     A    Right.     Yes.

 8     Q    Let's go back briefly to pages 102 and 103 of

 9          your documents that are Plaintiff's Exhibit 2,

10          your activity logs.

11     A    I have them now.

12     Q    So on page 103, let's return to that portion of

13          the language that is the entry for 3-14-19

14          where it references one or more conversations

15          with Mr. Esposito and/or Mr. Kopp.

16                   So you testified earlier about how you

17          didn't remember exactly why you wrote down the

18          comment about retaliation, correct?

19     A    Yes.

20     Q    And you couldn't remember if it was something

21          that it was your opinion or someone else's,

22          correct?

23     A    Yes.     I don't remember.

24     Q    But if you wrote this comment about

25          retaliation, that means retaliation was an

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 90 of 383. PageID #: 451
                                                                                  89


 1          issue, correct?

 2     A    I don't know.

 3     Q    Well, it had to come from somewhere.             How would

 4          it come up if it weren't a possible issue, sir?

 5                            MR. SNYDER:      Objection.

 6                            MR. STRANG:      Objection.

 7     Q    You can answer the question.

 8     A    I'll go back over this a second time.

 9     Q    I just need you to answer the question.

10     A    I don't know whether it was an anecdotal

11          comment made by Ron Kopp or by Mike Esposito or

12          my characterization associated with the case

13          that I referred to that the Chief had -- I

14          don't know the genesis of those words.

15     Q    It came up, correct?

16     A    Pardon me?

17     Q    But it came up, correct?

18     A    I don't know that it came up or didn't come up

19          in the context of this case.           It may have come

20          up in the context of this case, the Mazzola

21          case.    It may have come up in the context of

22          that case that the Chief had referred to.              And

23          you're asking me for specific recollection of

24          why those words end up on the paper and I don't

25          know.

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 91 of 383. PageID #: 452
                                                                                  90


 1     Q    Okay.     So let me ask you this.        If you wrote

 2          down that retaliation could be a problem, is it

 3          correct that that means either someone told you

 4          that, one of the two people mentioned in this

 5          entry, or you thought of it yourself?

 6                            MR. STRANG:      Objection.

 7                            MR. SNYDER:      Objection.

 8     Q    You can answer.

 9     A    I don't know.

10     Q    These are your notes on a case you're

11          investigating, correct?

12     A    Yes.

13     Q    You wrote this, correct?

14     A    Yes.

15     Q    Okay.     So I'm trying to understand the possible

16          ways this idea could have come about, sir.              And

17          you've said that Mr. Kopp might have mentioned

18          it, Mr. Esposito might have mentioned it.              And

19          is it correct that Chief Kilbane could have

20          mentioned it because he teaches classes that

21          may have implicated a case related to it?

22                            MR. SNYDER:      Objection.

23                            MR. STRANG:      Objection.

24     Q    Is that correct?       Answer the question.

25     A    Anyone could have mentioned that and I don't

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 92 of 383. PageID #: 453
                                                                                  91


 1          know why it's there; as I said, if it's an

 2          anecdotal comment or if it's an editorial

 3          comment, and I don't know how its predicated or

 4          why its predicated, and I don't know the

 5          genesis of why it's on my paper.

 6     Q    Okay.    So either someone mentioned it or you

 7          thought of it, correct?

 8                            MR. SNYDER:      Objection.

 9                            MR. STRANG:      Objection.

10                            MS. SAVOIE:      How is this an

11          objection?

12                            MR. STRANG:      He's been asked and

13          answered it 50 times.         We've been over this.

14     Q    Just answer the question, please.

15                            MR. SNYDER:      Could you repeat the

16          question, please?

17                            MS. SAVOIE:      Court reporter,

18          could you please read it back?

19                            (Record read.)

20     A    Well, I would say those two options are the

21          options that would be there as a possibility,

22          but the other option that you haven't indicated

23          is it may be part and parcel to that case that

24          I repeatedly referred to.          And if that is part

25          of the case, what I'm trying to convey, and I

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 93 of 383. PageID #: 454
                                                                                  92


 1          really wish I could convey it in better words,

 2          is that it may be part of that case whereby

 3          someone said retaliation could be a problem,

 4          but it wasn't a problem in that case.

 5     Q    Okay.    Thank you.

 6     A    I don't know how else to say this, ma'am.

 7     Q    That's fine, Mr. Evans.

 8                  So are there reasons that someone would

 9          show physiological signs indicative of

10          deception on a polygraph examination other than

11          actually being deceptive?

12     A    Well, the reactions, the physiology that's

13          presenting on a polygraph is a result of a

14          stimuli or stimulus, which would be the

15          question and the answer posed.

16     Q    Okay.    And there are lots of possible stimuli

17          why someone would show these signs of

18          physiological stress, correct?

19                            MR. SNYDER:      Would you let him

20          finish the answer, please?

21     Q    We have some time constraints, so if you can --

22     A    I get asked this question in many cases that I

23          testify to in Federal Court, State Court and

24          local courts, and it's a common question and

25          the question requires an answer that is

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 94 of 383. PageID #: 455
                                                                                  93


 1          thorough.

 2                  So during the pre-test interview we

 3          eliminate concerns associated with why a person

 4          may respond to a question for reasons outside

 5          of the normal response, purpose, reason, basis

 6          for the physiology that presents.            And that

 7          type of reaction or response is recorded

 8          consistently over several tests for validity

 9          and reliability.       So we didn't know of anything

10          that could potentially cause a reaction on the

11          test unless that person would convey -- the

12          person being tested would convey that

13          information of some kind.

14                  And this was a pretty straightforward

15          test in that it was a categorical denial of any

16          involvement, period.

17     Q    Is it correct that it's possible for someone to

18          show those signs on a polygraph examination

19          because they have anxiety?

20     A    No.    That's not a reason.

21     Q    Aren't there other reasons why someone would

22          show signs of deception on a polygraph exam

23          other than actually being dishonest?

24     A    You said is it possible and I'm going to answer

25          honestly anything is possible.           So anything is

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 95 of 383. PageID #: 456
                                                                                  94


 1          possible in regard to that.

 2                   There's a known error associated with any

 3          scientific process, DNA or any type of

 4          scientific process, so we try to eliminate the

 5          reasons for any error ratio.

 6     Q    Sure.     You're not claiming to be infallible

 7          with the polygraph examination, are you?

 8     A    No.     Never have been.      Never would.

 9     Q    Right.     And, in fact, the results of polygraph

10          examinations aren't admissible in most courts

11          for those reasons, correct?

12                            MR. STRANG:      Objection.

13     Q    You can answer.

14     A    Well, I testified earlier that I testify very

15          frequently in many, many, many cases, and they

16          are admissible in court and I hold the case law

17          on admissibility for a non-stipulated polygraph

18          examination, but under most circumstances those

19          results are stipulated to or admissible, and

20          under Daubert they can be admitted without an

21          agreement stipulation as well.

22     Q    On this polygraph for Mr. Mazzola, it showed

23          signs of deception on all of the questions that

24          were asked of him by your associate, correct?

25     A    Well, the overall opinion is based on the three

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                  CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 96 of 383. PageID #: 457
                                                                                  95


 1          relevant questions.        Any one of those relevant

 2          questions would cause a failure, however, there

 3          were significant signs of deception on all

 4          three areas, but any one of those areas if the

 5          subject was not being honest, truthful about

 6          any one of those three areas, there would be a

 7          deceptive opinion rendered.

 8     Q    Looking to the three specific relevant

 9          questions, one of them involved whether

10          Mr. Mazzola actually provided information to

11          the news media, Ed Gallek, correct?

12     A    Do you want me to refer -- I can get that.                Do

13          you know the Bates stamp?          I'll pull the

14          questions up.      It would be easier if I did

15          that, I think.

16                  All right.     The three questions.        "Did

17          you provide any information contained in those

18          documents to the media?"         The second question

19          was, "Do you know for sure who provided

20          information contained in those documents to the

21          media?"     And, "Did you help provide information

22          contained in those documents to the media?"

23     Q    And is it correct that according to the test,

24          Mr. Mazzola showed signs indicative of

25          deception on all three of those relevant

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 97 of 383. PageID #: 458
                                                                                  96


 1          questions?

 2     A    As I said, the one reaction to the one question

 3          is going to cause a deceptive opinion, but

 4          there were reactions to each relevant question.

 5          So the overall opinion is based on those three

 6          questions, and I don't know which particular

 7          question gave him the most problem or the least

 8          problem.

 9     Q    But he had reactions on all of them?

10     A    Let me explain to you why I say that, okay, in

11          order to be clear.

12                  If Lieutenant Mazzola provided

13          information himself, he would know for sure who

14          provided the information and he would have

15          acted in that way to help provide the

16          information if he did it himself.            However, if

17          he had someone do it for him, he would know for

18          sure who did that and he would aid or abet or

19          assist and help in doing it.           And he would also

20          have -- by constructively providing the

21          information, he would have provided it himself,

22          so he could theoretically react to all three

23          questions but literally know for sure who did

24          it or literally do it himself or aid, abet and

25          assist and help having it provided.

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                 CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 98 of 383. PageID #: 459
                                                                                  97


 1                  So a person can act directly or a person

 2          can act through providing the access.

 3     Q    Okay.    So if Ed Gallek said or even testified

 4          that Lenny Mazzola did not provide any

 5          information to the media, would that cause you

 6          to question the findings of the polygraph

 7          examination?

 8                            MR. STRANG:      Objection.

 9     A    Not at all.

10     Q    Not at all?      Because you think that a reaction

11          to any one of the three would cause a failure

12          overall, correct?

13     A    Well, if Lieutenant Mazzola helped, aided or

14          abetted, he would fail the test.            If he knew

15          for sure who did it and didn't tell us who did

16          it, he would fail the test.          So he wouldn't

17          have to have done it himself in order to fail

18          the test.

19     Q    Did you find any information in your

20          investigation indicating who actually did

21          provide the information to the media?

22     A    In other words, did Lieutenant Mazzola confess

23          that he did it?

24     Q    I'm asking if -- no.        Did you find any

25          information that would indicate who was the

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     Case: 1:19-cv-02519-JPC Doc Bill
                                 #: 64 Evans
                                       Filed: 08/04/20 99 of 383. PageID #: 460
                                                                                  98


 1          person to provide information to the media?

 2     A    Circumstantially there was a lot of information

 3          that suggested that there was involvement on

 4          his part, but circumstantially is not

 5          definitively.

 6     Q    I'm asking about other people, sir, because

 7          Mr. Gallek said that Mr. Mazzola was not the

 8          source.

 9                            MR. STRANG:      Objection.

10     Q    So do you have information about who was the

11          source?

12     A    Let me go to the -- without pulling a document,

13          let me go to something that was interesting in

14          regard to motive.

15                  There were few people that had motive and

16          there were few people that had access to

17          certain documents and, in this case, Lieutenant

18          Mazzola had access to certain documents.              And

19          based on the interviews that I did, including

20          the Chief of Detectives for the City of

21          Independence, there were a couple of documents

22          that that Chief of Detectives felt narrowed the

23          field of potential people that could be

24          involved in this.        I'm referring to Lieutenant

25          Wilson.

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                 CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 100 of 383. PageID #: 461
                                                                                  99


 1                    And so if I look at my notes, I could be

 2           a little more clear on that.         But by virtue of

 3           Lieutenant Mazzola's interview -- could you

 4           give me a moment and I'll pull that out?             It

 5           would be easier than me trying to speculate

 6           on --

 7      Q    We can take a break for a second if you want.

 8      A    No.     I don't need a break.      It's okay.

 9                    This is the initial interview of

10           Lieutenant Mazzola.       And I'm referring to

11           Bates stamp 214, 213 -- 213, 214 and 215.             And

12           I asked Lieutenant Mazzola during that

13           interview who had access to his pre-D notice

14           and his answer was, "Me", him, himself.

15                    And I asked him about the pre-D notice

16           regarding Dalton I think also.          And I

17           interviewed Dalton by then and Dalton was very

18           upset about the fact that his pre-D notice got

19           out to the general public.         And I asked

20           Lieutenant Mazzola to narrow the field of

21           people on Bates stamp 216 as to who he believed

22           distributed his pre-D notice and I asked him

23           about the possibilities that I knew that

24           existed at that point, being the Chief,

25           Letecia, Lieutenant Wilson, his attorney,

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 101 of 383. PageID #: 462
                                                                                  100


 1           Bob Phillips.

 2                    And in 5 I said, "Could it be anybody

 3           else?"     And he said, "I did not do it."         And

 4           there was no other reference to anyone and that

 5           didn't change between then when I interviewed

 6           him and the time when he came in for his

 7           polygraph in terms of the possibilities except

 8           for he was unclear and unsure as to whether or

 9           not the IT department kept a pdf on that pre-D

10           discipline or not.

11                    So he eliminated the possibilities, or at

12           least narrowed them down to the Chief, Letecia,

13           Lieutenant Wilson, Bob Phillips and himself,

14           though he denied that he did it.          We all know

15           that.

16                    So that's when Sara Liva brought up the

17           possibility, if you look down further on this,

18           I think it has to do with some other

19           speculation that she made as being another

20           possibility having to do with that IT pdf.

21                    And so where I'm going with that is the

22           possibilities were pretty narrow at that point

23           and those possibilities didn't expand by the

24           time March 20 came around for the polygraph, so

25           that's the reason that these polygraph

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 102 of 383. PageID #: 463
                                                                                  101


 1           questions were present during the polygraph;

 2           "Do you know who did it?        Did you help do it?"

 3           And, "Did you do it?"        They're very basic

 4           questions to try to resolve a case like this.

 5                            MS. SAVOIE:      Okay.    Thank you,

 6           Mr. Evans.     Those are all the questions I have

 7           for you.

 8                            MR. STRANG:      Mr. Evans, this is

 9           Steve Strang for the City.         I'm going to ask

10           you a couple questions.

11                  Is it okay if we take ten minutes, get

12           up, stretch my legs, let me gather a document

13           or two?    I shouldn't be that long with you.

14                            THE WITNESS:      Okay.

15                           (Recess taken.)

16      EXAMINATION OF BILL EVANS

17      BY-MR.STRANG:

18      Q    Mr. Evans, I'm going to kind of bounce around a

19           little bit because a lot of the stuff that I

20           was going to ask you got covered.

21                  I first want to direct your attention to

22           Plaintiff's Exhibit 3, which is this I-Team

23           e-mail you were shown.        Let me know when you

24           have it in front of you.

25                            MS. SAVOIE:       Object to the form

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 103 of 383. PageID #: 464
                                                                                  102


 1           there.     E-mail?

 2                               MR. STRANG:   Well, it came across

 3           as an e-mail.        It's an article.

 4      Q    Do you have it in front of you?

 5                               MS. SAVOIE:      It's a pdf.

 6      A    Yes.     Mr. Snyder has to bring his computer over

 7           to me.     He's pulling that up now.

 8      Q    Let me know when you have it.

 9      A    Okay.

10      Q    Are you still waiting for it, Mr. Evans?

11      A    Yes.     Mr. Snyder is having difficulty bringing

12           it back up.

13                    Okay.     We have it now.

14      Q    Great.

15                    Mr. Evans, are you looking at Plaintiff's

16           Exhibit 3 right now?

17      A    "I-Team lie detector test given to local police

18           officer over traffic tickets."           Is that the one

19           you're referring to?

20      Q    I am.     Can you tell me the date on that

21           document, the date of the story?

22      A    It says May 11, 2020.

23      Q    It says under the RE line on page 2, do you see

24           that it says, "May 3, 2019.           Updated May 3,

25           2019."

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 104 of 383. PageID #: 465
                                                                                  103


 1                    Do you see that?

 2      A    Posted May 3, 2019 at 7:43 p.m.          Updated May 3,

 3           2019, 7:43 p.m.

 4      Q    Okay.     May 3, 2019 was after your interview

 5           with Leonard Mazzola, correct?

 6      A    Yes.

 7      Q    It was after the polygraph of Lenny Mazzola,

 8           correct?

 9      A    Yes.

10      Q    And it was approximately a month after Lenny

11           Mazzola quit, correct?

12      A    I don't know when he quit, but I know it was

13           within a week of the polygraph, I believe or

14           thereabouts, so it would have been probably

15           before April.

16      Q    So, in any event, it would have been

17           approximately a month before this story that

18           we're looking at came out, correct?

19      A    Yes.

20      Q    Okay.     And by that point your investigation,

21           you had essentially finished your

22           investigation, correct?

23      A    Yes.

24      Q    And some of these questions are pretty self

25           evident, but I'm going to ask them anyway.

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 105 of 383. PageID #: 466
                                                                                  104


 1                    Mr. Evans, you don't know Ed Gallek

 2           personally, correct?

 3      A    I don't think I've ever met him.          I've seen him

 4           on TV.

 5      Q    You were not a contributor to this article,

 6           correct?

 7      A    No.

 8      Q    Ed Gallek didn't talk about this article to

 9           you?     He never has at any point, correct?

10      A    No.

11      Q    Ed Gallek hasn't talked to you about any of the

12           contents of this article, would that be

13           correct?

14      A    He called me the one time for comment and I

15           don't think there had been any conversation

16           associated with this particular article at all,

17           in fact, I don't remember what the content of

18           his call was about at this point.           I just said,

19           "No comment."

20      Q    Is this deposition the first time you've seen

21           this article?

22      A    As I recall, yes.

23      Q    Have you ever discussed this article with

24           anyone from the City of Independence?

25      A    As I had mentioned earlier, this couldn't have

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 106 of 383. PageID #: 467
                                                                                  105


 1           been what Lieutenant Mazzola was referring to

 2           because his polygraph was way before this.             I

 3           don't recall ever seeing this article before

 4           today.

 5      Q    Lenny Mazzola never referenced this article to

 6           you obviously during this investigation,

 7           correct?

 8      A    No.    Because the last time I talked to

 9           Lieutenant Mazzola would have been the 20th of

10           March.

11      Q    In your investigation did Leonard Mazzola ever

12           present you with any sort of statement from

13           Ed Gallek exonerating himself?

14      A    No.

15      Q    Did Leonard Mazzola ever give you any sort of

16           recording, any telephone call recording from

17           Ed Gallek exonerating Leonard Mazzola?

18      A    No.

19      Q    Are you aware that Leonard Mazzola was

20           recording conversations with his superiors for

21           approximately a year before he quit?

22                            MS. SAVOIE:       Objection.

23      A    No.

24      Q    Would that surprise you?

25      A    Well, they wear a body cam and police --

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                                 Bill  Evans 08/04/20 107 of 383. PageID #: 468
                                                                                  106


 1           nowadays police work is common with the body

 2           camera.    I don't know what kind of recording

 3           you would be referring to.

 4      Q    Did he ever mention to you that he was

 5           recording conversations with his superiors?

 6      A    No, not that I recall.

 7      Q    Do you think that's an honest thing to do?

 8                            MS. SAVOIE:       Object to the form.

 9      A    Well, for accuracy and note taking I guess it's

10           okay.

11      Q    Do you think that that's an honest thing to do

12           when the other person does not know that you're

13           recording the conversation?

14      A    Well, once again, for accuracy and note taking,

15           depends on the context in which it's taken in.

16      Q    But during your investigation he never pointed

17           to any audio recordings that he said would

18           exonerate him, correct?

19      A    No.

20      Q    And opposing counsel referenced some phone call

21           that Lenny Mazzola had with Ed Gallek wherein

22           Ed Gallek apparently exonerated Lenny.            And

23           just to be clear, you've never heard anything

24           like that, correct?

25      A    No.

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 108 of 383. PageID #: 469
                                                                                  107


 1      Q    And do you know whether any such phone call

 2           exists?

 3      A    No.     I don't know.

 4      Q    Do you know if reporters typically talk about

 5           who their sources are?

 6      A    They generally do not talk about sources.

 7      Q    And generally a reporter will not confirm or

 8           deny who a particular source is, is that

 9           correct in your experience?

10      A    In my experience that's correct, yes.

11      Q    And looking at this article which is

12           Plaintiff's Exhibit 3, I'm going to point you

13           to the paragraph that you were asked about at

14           great length during opposing counsel's

15           examination on page 3 of the pdf that starts,

16           "During the internal investigation, one police

17           supervisor retired."

18                    Do you see that?

19      A    Yes.

20      Q    It says, "Multiple sources say he left under

21           pressure.     However, he never supplied any

22           information to the I-Team."

23                    Do you see that?

24      A    Yes.

25      Q    Do you have any idea why Mr. Gallek chose to

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 109 of 383. PageID #: 470
                                                                                  108


 1           put a period between "pressure" and "however"?

 2      A    I have no idea.

 3      Q    It's not something he ever talked to you about?

 4      A    No.

 5      Q    Do you know who the multiple sources are in

 6           this article?

 7      A    I have no idea.

 8      Q    Could those multiple sources have been -- one

 9           of them possibly have been Lenny Mazzola?

10                             MS. SAVOIE:      Object to the form.

11      A    Yes.     Anything is possible.

12      Q    Could one of those multiple sources possibly

13           have been Lenny Mazzola's legal counsel?

14                             MS. SAVOIE:      Object to the form.

15      A    Yes.     Anything is possible.

16      Q    If anything is possible, and we don't know that

17           because the article doesn't tell us, right?

18      A    Correct.

19      Q    I want to go through the polygraph results with

20           you and that's starting on Evans 001.            Do you

21           see that?     Do you have that in front of you?

22                    Do you want me to give you a second?

23      A    No.     I have it in front of me now.

24      Q    Thank you.

25                    So I'm referring to -- and just so we are

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 110 of 383. PageID #: 471
                                                                                  109


 1           referring to the same thing, when I'm talking

 2           about a report, can you kind of thumb through

 3           this and let me know -- it looks to me like the

 4           report would be Evans 01 to Evans 02, but it's

 5           possible that there's a lot of documents behind

 6           it that I don't quite understand, some of these

 7           graphs and questions.

 8                   Can you just look through this and tell

 9           me where the report actually stops?

10      A    Well, if you look at the bottom of page 2 of

11           the report, it indicates, "Enclosures; OSS-3,

12           algorithm report, ESSM score sheet."            And then

13           the graphs themselves typically aren't part of

14           the report, but OSS-3 is an Objective Scoring

15           System version 3, and that's not developed by

16           us.

17                   Our hand scoring is one way of

18           interpreting the results, as I mentioned

19           earlier when being questioned earlier.            That

20           takes some time to develop and evaluate.             That

21           hand scoring was deceptive, but then the

22           Objective Scoring System evaluates the data,

23           the physiological data on its own, and produces

24           a result.

25                   And that result is on Bates stamps

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 111 of 383. PageID #: 472
                                                                                  110


 1           3, 4 and 5 with a P value of .001, translating

 2           to the probability that the result was from a

 3           truthful person would be 1 in 1,000.            Reversing

 4           that, the probability of deception would be

 5           999 out of 1,000.

 6                    And then the other enclosure would be

 7           006.     And 006 would be, once again, an

 8           algorithm scoring where the algorithm evaluates

 9           the data.     And that data is translated in a

10           little different form with a grand total of a

11           minus 40.     As I recall, the hand scoring was

12           very, very consistent with that algorithmic

13           scoring in a negative number.

14                    And negative 40 is on the scale very

15           deceptive, on the scale on hand scoring, but on

16           the scale of the Empirical Scoring System,

17           which is another form of scoring this data,

18           ESS, the scoring odds are 991 to 1 that it's

19           produced by a deceptive person.

20                    So the algorithms don't know who is being

21           tested and they don't care about the questions,

22           verbiage or content.       The only thing the

23           algorithm evaluates is physiological data, and

24           the physiological data comports with that of a

25           deceptive individual in those odds that are

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 112 of 383. PageID #: 473
                                                                                  111


 1           generated by the algorithm.

 2      Q    And to be clear, in this particular case the

 3           data I think is the word you used, revealed

 4           that Leonard Mazzola was a deceptive person,

 5           correct?

 6      A    The physiological information that was

 7           evaluated, whether it be through hand scoring

 8           or whether it be through algorithm, was

 9           translated into a deceptive opinion.

10      Q    And can you tell me the odds or the level of

11           certainty that you have in those results?

12      A    Based on the meta-analysis studies that have

13           been done over time, the physiological

14           responses are consistent with deception at

15           about for an average examiner in an average

16           application of polygraph about 93 percent,

17           90 to 93 percent of the time for an average

18           examiner across the board.

19      Q    Were the results in this case unusually

20           certain?

21      A    They're very clear.       The higher the numbers,

22           the more clear the results are in terms of

23           confidence intervals.        When you combine

24           different scoring algorithms with hand scoring,

25           the confidence intervals go up.

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 113 of 383. PageID #: 474
                                                                                  112


 1                  I mean a better way of explaining that is

 2           if you have one form of evidence suggesting

 3           that a person is involved in a crime, you have

 4           a confidence interval that's multiplied and

 5           becomes more certain when you have two forms of

 6           evidence or three forms of evidence, it becomes

 7           even more certain in a confidence interval

 8           evaluation.

 9                  So from a polygraph standpoint, when

10           there are different ways of interpreting the

11           same data, which is what we have here, we've

12           got a hand scoring coupled with two separate

13           algorithms, the confidence in that opinion of

14           deception goes up.

15      Q    And up to what?      What were the mathematical

16           conclusions in this?

17      A    Well, there is nothing more -- in terms of

18           these algorithms, there is nothing more certain

19           relative to the bandwidth -- I'll use that term

20           loosely -- the bandwidth of the deceptive

21           opinion doesn't go beyond 1,000, and this is

22           999 out of 1,000.       99 percent on the odds of

23           significant reactions indicative of deception

24           on the Empirical Scoring System, and the

25           Objective Scoring System, the P value there is

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 114 of 383. PageID #: 475
                                                                                  113


 1           .001.

 2      Q    And before this report was generated, I

 3           understand that the results were verbally

 4           conveyed to the City of Independence, is that

 5           correct?

 6      A    Yes.

 7      Q    By you or by the gentleman who took this,

 8           Mr. Butler?

 9      A    I think that was by me.

10      Q    And can you recall what you conveyed to the

11           City of Independence after the polygraph?

12      A    No.     I can't recall specifically what I

13           conveyed other than it was a deceptive opinion.

14      Q    And did you communicate to the City of

15           Independence how certain you were that the

16           results were deceptive?

17      A    Well, I mean I think I probably would have

18           conveyed based on what I would have known at

19           that point that they were very clear in terms

20           of deception.

21      Q    You mentioned before when you were asked why a

22           report wasn't generated at the time -- well,

23           let me ask you this again.         Why wasn't the

24           report produced at the time back in spring of

25           2019?

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 115 of 383. PageID #: 476
                                                                                  114


 1      A    Well, one reason was because there was no

 2           request for the report at that point because

 3           Lieutenant Mazzola resigned his position, so

 4           there was no need for a report.

 5                   I wasn't going to create a report on

 6           anything that I did, per se, in order to be

 7           able to work on the case.         I mean the available

 8           resources on a particular case could be divided

 9           into work effort or into report creating effort

10           or both.     And there were I don't know how many

11           individuals to be interviewed, seven

12           individuals maybe, something like that.

13                   There was a lot of work involved in doing

14           the case and the allocated dollars at that

15           point, I was trying to be considerate of how I

16           put my time in and where I put my time into

17           work effort.     So, consequently, creating a

18           report wasn't a priority, not that it wasn't a

19           priority on my part.       I think the City didn't

20           see a need for the report.         It became a moot

21           point when he offered his resignation.            And

22           eventually --

23      Q    I'm sorry.     I cut you off.      And eventually

24           what?

25      A    I think it became a moot point subsequent to

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 116 of 383. PageID #: 477
                                                                                  115


 1           the resignation.

 2      Q    You mentioned that you heard several later that

 3           the City did want a written report because

 4           there were allegations that Mr. Mazzola

 5           actually did pass the polygraph test.            Am I

 6           correct?

 7      A    Yes.

 8      Q    I'm going to read a couple statements and I

 9           want to ask you whether those statements are

10           true.

11                    "Lieutenant Mazzola again answered the

12           questions fully and truthfully."

13      A    I'm sorry.     You broke up.      What was that again,

14           please?

15      Q    "Lieutenant Mazzola again answered the

16           questions fully and truthfully on the polygraph

17           test."

18                             MS. SAVOIE:      Object to the form.

19      A    Are you referring to the complaint that was

20           filed?

21      Q    I am referring to the complaint not that was

22           filed, but that was originally sent to the

23           City.     I'm just going to read you a couple

24           statements and ask whether they're true

25           statements or not.

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 117 of 383. PageID #: 478
                                                                                  116


 1      A    Okay.

 2      Q    "Lieutenant Mazzola again answered the

 3           questions fully and truthfully."

 4                             MS. SAVOIE:      Object to the form.

 5      A    Okay.     And your question would be?

 6      Q    Did Lenny Mazzola answer the questions on the

 7           polygraph truthfully?

 8                             MS. SAVOIE:      Object to the form.

 9           You can answer.

10      A    Well, as I testified, there was deception

11           indicated in regard to those three areas of

12           questions asked on the polygraph, so in the

13           forensic opinion world, no.

14      Q    The next is, "Lieutenant Mazzola was told also

15           that he had failed the polygraph, but that was

16           not true and Defendants continued to insist

17           that Lieutenant Mazzola was to blame."

18                    Would that be a true statement that

19           Leonard Mazzola failed the polygraph?

20      A    Yes.

21      Q    And the written report that you generated

22           confirmed that Leonard Mazzola failed the

23           polygraph, correct?

24      A    Yes.

25      Q    And before you generated this PolyTech report

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 118 of 383. PageID #: 479
                                                                                  117


 1           dated December 20, 2019, there was no report

 2           specifically stating that Leonard Mazzola

 3           failed the polygraph, correct?

 4      A    Correct.

 5      Q    I'm going to ask you a couple questions about

 6           some of these documents in this report.            And

 7           I'm specifically looking at Evans 007.

 8      A    Okay.     I have it.

 9      Q    Can you tell me what that document is?

10      A    This is our waiver release form that's signed

11           before an examination is conducted.

12      Q    Before a polygraph examination?

13      A    Yes.

14      Q    And I see it's marked up.         Do you see that?

15      A    Yes.

16      Q    Can you tell he who made those revisions to the

17           polygraph examination waiver?

18      A    Sara Liva, the lawyer for the Union.

19      Q    And Sara Liva was actually Lenny Mazzola's

20           lawyer, correct?

21                             MS. SAVOIE:      Object to the form.

22      A    Yes.

23      Q    She was representing him?

24                             MS. SAVOIE:      Object to the form.

25      Q    Correct?

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                    CADY REPORTING SERVICES, INC. 216-861-9270
     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 119 of 383. PageID #: 480
                                                                                  118


 1      A    Yes.

 2      Q    I'm going to direct your attention to Evans 76.

 3      A    Okay.

 4      Q    This is dated March 19, 2019 sent via e-mail to

 5           Bill Evans, and apparently it's from Sara Liva,

 6           L I V A.

 7                    Did you actually receive this letter via

 8           e-mail?

 9      A    Yes.

10      Q    I'm going to direct your attention to the first

11           paragraph, specifically the third sentence.             It

12           states, "Please be informed that I am

13           Lieutenant Mazzola's legal and union

14           representative and that he has exercised his

15           right to union representation at all

16           investigatory interviews regarding this

17           matter."

18                    Did I read that correctly?

19      A    Yes.

20      Q    Was that your understanding, that Leonard

21           Mazzola had a legal and a union representative

22           guiding him through this process?

23      A    Yes.     There were two actually, Bob Phillips and

24           Sara Liva worked for him, Bob Phillips, and she

25           consulted with Bob Phillips during the

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 120 of 383. PageID #: 481
                                                                                  119


 1           pendency.

 2      Q    And I think you talked before about some

 3           discussions about a polygraph examination with

 4           Sara Liva?

 5      A    Yes.

 6      Q    And what specifically was discussed with

 7           Sara Liva about a polygraph examination?

 8      A    Oh, boy.     The only thing that I recall would

 9           have been -- well, the first thing that I

10           recall would have been during the interview the

11           day of interviews about polygraph when I was

12           asking the interviewees, the people that I was

13           interviewing if they would take a polygraph and

14           that topic came up, that she looked at the CBA

15           and told me that it was silent on that topic,

16           Sara Liva.

17                    After that I think the only other thing

18           that we probably would have talked about would

19           have been when there were polygraphs that were

20           being scheduled, a polygraph being scheduled in

21           regards to this case before you.          Beyond that I

22           can't remember any other conversations if there

23           were any.

24      Q    She never told you you don't have the right to

25           subject Lenny Mazzola to a polygraph or

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 121 of 383. PageID #: 482
                                                                                  120


 1           anything like that?

 2      A    No.

 3      Q    Did they ever instigate any sort of

 4           administrative or legal challenge to you

 5           putting Lenny Mazzola through a polygraph?

 6                             MS. SAVOIE:      Object to the form.

 7      A    No.     In fact, Bates stamp 007, those

 8           corrections on the right-hand side would be her

 9           initials, and this was the superseding document

10           of any information that was discussed about

11           polygraph or reference to conducting this

12           examination.      And she witnessed and signed next

13           to Lenny Mazzola's name down toward the bottom.

14      Q    So to your understanding, that's Sara Liva's

15           signature at the bottom?

16      A    No.     I know that's her signature because we --

17           no.     I'm positive that's her signature.

18      Q    And the signature next to it, is that Lenny

19           Mazzola's signature?

20      A    Yes.

21      Q    Did Lenny Mazzola ever object to taking a

22           polygraph examination?

23      A    Yes.

24      Q    What did he say?

25      A    Well, when I asked him during the first

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 122 of 383. PageID #: 483
                                                                                  121


 1           interview if he would take the polygraph, he

 2           said no.

 3      Q    And when were you advised that he would, in

 4           fact, take the polygraph?

 5      A    Well, he had to be ordered to take the

 6           polygraph by the Chief.

 7      Q    Do you know when that happened?

 8      A    No.     I really don't know when that happened.

 9      Q    Were you present for that discussion?

10      A    When he was ordered to take the exam?

11      Q    Correct.

12      A    No.     I think there was a directive of some kind

13           that went out by the Chief because the Chief

14           knew that he wasn't going to be taking a

15           polygraph after the first interview and he

16           didn't want to take a polygraph, and I think

17           that's why he had to be ordered to take it, but

18           I really don't remember any other details

19           associated with how that developed.

20      Q    And this document, Evans 00 7, this was signed

21           by Lenny Mazzola and his attorney the day of

22           the polygraph, correct?

23      A    Yes.

24      Q    Were you retained to interview witnesses or to

25           administer a polygraph examination?

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 123 of 383. PageID #: 484
                                                                                  122


 1      A    Well, I guess both, but I didn't want to do the

 2           polygraph because I had already done the

 3           interviews.

 4      Q    Well, whose idea was it to administer the

 5           polygraph?

 6      A    It would have been probably my suggestion that

 7           that's the next step at that point.

 8      Q    Do you specifically recall suggesting a

 9           polygraph examination in this case?

10      A    I think so, yeah.       I probably suggested that

11           that was probably the next step in this case

12           would be a polygraph at that point.

13      Q    And why did you believe that the next step in

14           this case would be a polygraph?

15      A    Well, because as I testified earlier, there

16           were a lot of common denominators that seemed

17           to be developing in reference to information

18           that got out of the police -- from a

19           proprietary perspective outside of the

20           communications officer, the appointed

21           communications officer without that

22           authorization.

23                  So there was a denial by Lieutenant

24           Mazzola that he was involved, and the next

25           logical step based on those connections of the

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                                 Bill  Evans 08/04/20 124 of 383. PageID #: 485
                                                                                  123


 1           common denominators associated with a public

 2           records request and so forth, it just seemed to

 3           be the next logical step.         It's not unusual to

 4           ask for polygraph examinations during

 5           investigations.

 6      Q    And you thought at this point that Leonard

 7           Mazzola was being deceptive, would that be

 8           accurate?

 9      A    Based on that polygraph examination.

10      Q    No.    Before the polygraph; after you

11           interviewed him, before the polygraph?

12                            MS. SAVOIE:       Object to the form.

13      A    Before the polygraph there seemed to be reasons

14           why the common denominators were lining up.             I

15           testified to this earlier.

16                   Some of those documents were in the

17           hands, by his own admission, of himself in a

18           very protected way.       In particular, it was the

19           pre-disciplinary letter that was given to him

20           that didn't have any copies made of it beyond

21           the one that he had gotten.         And if there was

22           anyone that made a copy of it, it would have

23           been only him.      And he didn't recall any copies

24           that he had made for anybody, so that would

25           have been the only document that was -- that

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 125 of 383. PageID #: 486
                                                                                  124


 1           document was in his possession, kept in his

 2           possession within that three-ring binder that I

 3           saw the day of the polygraph.

 4                  So in asking who could have obtained that

 5           document, he said that his binder was in his

 6           care, custody and control at the time.            He took

 7           it home with him as well.         I think that's

 8           probably, if I'm not mistaken, it's been a long

 9           time since I revisited that polygraph

10           interview, but I think that was on the

11           polygraph interview that we supplied, the

12           recorded portion of that polygraph interview.

13                  And that said to me that there had to be

14           someone that got into his office to obtain that

15           letter, that pre-disciplinary letter, left with

16           that letter, went to copy that letter and then

17           snuck it back to the same position in his

18           office or the three-ring binder or both in

19           order for there to be another person to have

20           had that in their possession to disseminate it

21           to the news media.       I mean at that time that

22           was the conclusion that I was making based on

23           that one document.

24                  And then coupled with that would be the

25           Brian Dalton pre-disciplinary notice and

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 126 of 383. PageID #: 487
                                                                                  125


 1           write-up.     And, as I recall, that was also --

 2           I'm almost certain of this -- that was also

 3           contained in that three-ring binder and that

 4           had to get to the media.

 5                   Plus, on top of that, there were other

 6           documents with verbatim similarities and maybe

 7           even quotations or mistakes or something like

 8           that in regard to how the sentence was

 9           structured that appeared then in public records

10           request.    And, actually, there were some things

11           that even appeared to me that was almost a cut

12           and paste of information that came out of these

13           documents that were contained proprietorially

14           within the City that ended up in the public

15           records request.

16                   So when I alluded to earlier the

17           circumstantial information, that's the

18           circumstantial information that I was referring

19           to.    And knowing that if Lieutenant Mazzola

20           knew who did this and was protecting them, then

21           that was something that was important to know

22           if it caused him, Lieutenant Mazzola, to be

23           exonerated by direct involvement in delivering

24           this to the news media, that was something that

25           I was very interested in determining if he

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 127 of 383. PageID #: 488
                                                                                  126


 1           simply knew who did this for a fact.            But he

 2           said he had no idea who did it, he didn't know

 3           of anyone who did it, he didn't do it and he

 4           didn't aid, abet and assist in doing it.

 5      Q    And I think you mentioned the Dalton reprimand.

 6           Based on your interview, do you think that

 7           Patrolman Brian Dalton was embarrassed about

 8           that reprimand?

 9      A    He was not only embarrassed about it, but he

10           was angry to find out that it was released.               He

11           didn't want anyone laundering his wash to the

12           public.

13      Q    And did you believe -- I'm sorry.

14      A    And he was angry that that had occurred and got

15           out.     So he was very upset during the interview

16           on the 20th or, excuse me, on the 13th.

17      Q    And based on that did you come to any

18           conclusions as to whether you felt that

19           Patrolman Dalton would have been the one to

20           leak the Dalton reprimand?

21                             MS. SAVOIE:      Object to the form.

22      A    Well, I noted shock and awe when he knew that

23           it had gotten out.       I mean he was just very

24           angry about the fact that it got out.            He was

25           very angry about who might have done it.             He

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 128 of 383. PageID #: 489
                                                                                  127


 1           wanted to get to the bottom of it.

 2                    In everybody's respect -- and I thought

 3           that and I got the same sentiment from about

 4           everybody that I interviewed, that they thought

 5           that it was proprietary information, they

 6           thought that it shouldn't have been released

 7           and it was causing discord within the police

 8           department.

 9                    And there was one person I interviewed, I

10           can't remember who it was, that said if they

11           did something wrong, you know, they would take

12           it on the face as a lump, but I don't remember

13           who that was, and they would accept the fact

14           that it had gotten out and they would have

15           accepted they did something wrong in terms of

16           it being disseminated.        But out of the rest of

17           them, everyone was upset that it had gotten

18           out.     You know, they took issue of it being

19           released outside of the proprietary confines of

20           the department.

21      Q    What, if any, relevance did motive have in your

22           investigation?

23      A    Well, that's a basic -- you know, the means,

24           the motive, the opportunity, that's always

25           basic investigatory A, B, C's.          Then you go to

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 129 of 383. PageID #: 490
                                                                                  128


 1           the who, what, why, when and how and you try to

 2           cross those T's and dot those I's as best you

 3           can.

 4      Q    In your investigation did you come up with who

 5           may have had the motive to provide these

 6           documents to Ed Gallek?

 7      A    Well, that was part of what I asked to

 8           everybody that I interviewed, you know, who had

 9           the means.

10                    The means would be --and I talked about

11           this earlier -- the means, the person that had

12           access to it, in other words, would be the

13           HR Director, the Chief, the person involved in

14           receiving the discipline, they would all have

15           access to that.      So that would be the means.

16                    The opportunity, certain people had

17           opportunity to do it.

18                    And the motive, certain people motive.

19                    But on the flip-side of that, certain

20           people didn't have the means, didn't have the

21           opportunity and didn't have the motive.

22                    So I guess in quantifying that the

23           question is did Letecia, I think her last name

24           is Linker, have the means?         Yeah, she probably

25           had access to everything.         Did she have the

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 130 of 383. PageID #: 491
                                                                                  129


 1           opportunity?     Well, she had the opportunity

 2           probably.     But did she have a motive to bring

 3           embarrassment upon the department, the City and

 4           the Chief?     I didn't see her high on the list.

 5                  Then the other person would be the

 6           Chief of Police.      Did he have the means, did he

 7           have the motive, did he have the opportunity?

 8           Well, I wasn't quite clear on how he would have

 9           the motive to bring embarrassment upon himself

10           or the police department or the City.

11                  So, you know, I went through that list

12           and I had to apply common sense.          And there

13           were a couple of those interviewees that had

14           alluded to Lieutenant Mazzola had been in line

15           for the Chief of Police position at some point.

16           I mean the departmental politics didn't mean

17           anything to me one way or another, but there

18           was one person that said theoretically anyone

19           within the police department could have gotten

20           that Police Chief position, but in reality,

21           it's a different story.

22                  Theoretically anybody in the police

23           department could have had the Chief position I

24           guess because of the way the Civil Service

25           worked up there, but I don't know that to be

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 131 of 383. PageID #: 492
                                                                                  130


 1           the case or fact.       I'm just telling you what I

 2           was told.     And so that was another item that

 3           was out there.

 4                    But then the traffic citation enforcement

 5           aspect of this, the Chief had indicated to me

 6           that there were a couple of people that were

 7           upset about the traffic enforcement aspect of

 8           writing these citations.        So, you know, all of

 9           that stuff at that point in time is a dynamic

10           that you take into consideration, at least I

11           did.

12      Q    And did you come to any conclusion as to who

13           had the means, the opportunity and the motive?

14      A    Well, on the list was Lieutenant Mazzola, and

15           so he was asked then to take the polygraph.             If

16           he cleared his polygraph, then we would have

17           moved onto another option.

18      Q    How many other options did you have at that

19           point, if any?

20      A    I don't know.      We would probably reevaluate the

21           situation at that point just like anything

22           else.     I mean if it's an investigation

23           involving any type of incident, you know, you

24           look at various options, you identify whether

25           or not those options are practical or not, and

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 132 of 383. PageID #: 493
                                                                                  131


 1           if they are practical, then you eliminate the

 2           option or you isolate the option.

 3                    So in this case we didn't get beyond

 4           conducting the polygraph of Lieutenant Mazzola.

 5      Q    Did any of the other officers interviewed

 6           indicate that they would be willing to take a

 7           polygraph?

 8      A    Yes.

 9      Q    Who?

10      A    Well, I think they all did.         I know Chuck

11           Wilson did.      I don't know.     I think several of

12           them did, if not all of them.          I didn't have

13           anybody refuse to take the polygraph.            I know

14           that.

15      Q    Well, with the exception of Mr. Mazzola,

16           correct?

17      A    Yes, except Lieutenant Mazzola.

18      Q    I'm going to direct your attention to Evans 86.

19      A    86?

20      Q    Yeah.

21      A    Okay.

22      Q    Is that the Dalton reprimand that we were

23           talking about earlier?

24      A    Yes.

25      Q    The date on that is January 7, 2019.            Do you

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 133 of 383. PageID #: 494
                                                                                  132


 1           see that?

 2      A    Yes.

 3      Q    Do you have any understanding as to how this

 4           document was generated?

 5      A    I'm not quite clear on your question.            Do you

 6           mean generated within the department?

 7      Q    Yeah.     Who wrote this?

 8      A    Apparently it was Lieutenant Mazzola, but I

 9           don't know for a fact who wrote it, who

10           actually drafted it.

11      Q    After it was signed do you see at the bottom of

12           it next to Patrolman Brian Dalton it says,

13           "Refused.     No just cause!"?

14      A    Yes.

15      Q    And it goes on a bit and then he eventually

16           signs the thing at the bottom.

17                    Do you know where this document was

18           stored or kept after Patrolman Dalton signed

19           it?

20      A    Are you referring within the department?

21      Q    Correct.

22      A    No.

23      Q    Was it kept with Mr. Mazzola?          Did he have

24           custody of this?

25      A    Boy, I would have to reference my notes, but

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 134 of 383. PageID #: 495
                                                                                  133


 1           yes, he had custody of this I'm almost certain.

 2      Q    When I say, "This", I mean the hard copy of the

 3           document?

 4      A    Yes.     Because he told me it was in his

 5           three-ring binder.       I recall that during the

 6           polygraph examination pre-interview.

 7      Q    Do you know when and if he ever gave a hard

 8           copy of that document or an electronic copy of

 9           that document to the Chief?

10      A    I may have at one time, but I don't recall

11           right now.

12      Q    Do you know when this document, Evans 86, was

13           given to you?

14      A    This would have been given to me by the

15           Chief of Police at some point during the

16           pendency of this investigation.

17      Q    Do you know when during the investigation?

18      A    I can't say emphatically I know exactly when,

19           but I believe it would have been during the

20           early part of the investigation.

21      Q    The document is dated January 7, 2019 at the

22           top.

23                    Do you see that?

24      A    Yes.

25      Q    This document was not given to you on

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 135 of 383. PageID #: 496
                                                                                  134


 1           January 7, 2019, correct?

 2      A    Oh, no.     No, definitely not.

 3      Q    And based on your notes which I'm looking at,

 4           Evans 103, the first notation in your activity

 5           log is on January 31, 2019, is that correct?

 6      A    Well, I'm looking for -- I've got a lot of

 7           paperwork here on this table, but we're looking

 8           at my activity log, all right.          And you said it

 9           was January 31, yes.

10      Q    Do you know if Evans 86 was given to you on

11           January 31, 2019?

12      A    I really don't know.       It might have been shown

13           to me then potentially.        I don't remember when

14           I got that document.

15      Q    But the earliest it even possibly could have

16           been was January 31, 2019, correct?

17      A    Yes.

18      Q    And even then you're not sure if it was given

19           to you on January 31, 2019, correct?

20      A    I don't think it would have been received -- I

21           see here that I received some information from

22           Chief Kilbane, but it doesn't say what, on

23           February 8.

24                    If I recall that meeting on the 31st, it

25           was just an informational meeting and I took

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 136 of 383. PageID #: 497
                                                                                  135


 1           some information down, some notes, and that was

 2           it.

 3                    I'm going to go back to what I said

 4           earlier.     I don't remember when I would have

 5           gotten that Dalton -- a copy of that Dalton

 6           discipline and pre-D notice.

 7      Q    Thank you.

 8                    I'm going to refer you to Evans 73.

 9      A    It's a blue form, yes.

10      Q    Can you tell me what this form is?

11      A    Biographical history form filled out during the

12           pre-test interview.

13      Q    And it's actually the second page of what

14           appears to start on Evans 72, would you agree

15           with that?

16      A    Yes.

17      Q    Can you tell me what this form is and what it's

18           used for?

19      A    It's used to get a background from a physical

20           standpoint and a psychological standpoint and

21           used to adjust parameters for the polygraph.

22           It's kind of like when we go and see a doctor,

23           they ask you to fill out a history, a

24           biographical history form.

25      Q    Who filled out this document?

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 137 of 383. PageID #: 498
                                                                                  136


 1      A    Ken Butler, the polygraph examiner.

 2      Q    Do you know what typically Ken Butler would

 3           have based these answers on?         Typically he

 4           would have asked these questions to Lenny

 5           Mazzola?

 6      A    Well, he asked these questions during the

 7           pre-test interview and it's recording and it

 8           would be before any test questions were asked

 9           and it would be during the time that he was

10           collecting generalized information.

11      Q    Were you physically present when he asked these

12           questions?

13      A    No.     I was in the room next door which is a

14           conference room watching and listening to the

15           polygraph examination via closed circuit

16           television.

17      Q    But you are a is the word polygrapher?

18      A    Yeah.     Polygraph examiner, polygraphist.

19      Q    And you're familiar with this form, correct?

20      A    Yes, I am.

21      Q    I'm going to refer you to the second page of

22           this form under 12.

23                    Do you see that?

24      A    The copy is very hard to read, but I have the

25           original, I believe, here.         That might be

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 138 of 383. PageID #: 499
                                                                                  137


 1           easier.

 2      Q    Well, the numbers aren't important.           I can

 3           start with the text.        Perhaps that might be a

 4           little bit easier.

 5      A    Okay.

 6      Q    It starts with, "Anything physically wrong past

 7           two years?"

 8                    Do you see that?

 9      A    Yes.     I see that.

10      Q    Can you read the response?

11      A    "No."

12      Q    The next says, "How physical condition right

13           now/hours slept last night/average/night."

14                    Do you see that?

15      A    Yes, I do.

16      Q    Can you read what it says under, "How physical

17           condition right now?"

18      A    "Good."

19      Q    Can you read under I think HRS.          I'm assuming

20           it's short for hours?

21      A    Yes.

22      Q    "Hours sleep last night?"         How many is that?

23      A    It says, "Five."

24      Q    And based on familiarity with Mr. Butler's

25           technique, would he have received these

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 139 of 383. PageID #: 500
                                                                                  138


 1           responses from Mr. Mazzola?

 2      A    Yes.     He got them from Mr. Mazzola.

 3      Q    And what is that field, "Average/night"?             Do

 4           you know what that means?

 5      A    That's how many hours he averages a night, that

 6           he averages a night, how many hours a sleep do

 7           you get on the average night.

 8      Q    It looks like -- can you find anything on this

 9           Evans 72 to Evans 73 where Lenny Mazzola

10           suggests that he is physically or mentally

11           incapable of taking a polygraph test that day?

12      A    No.

13      Q    And as a polygraph examiner do you account for

14           someone being nervous to take the test?

15      A    Yes.

16      Q    Would it be fair to say that most people taking

17           a polygraph examination are nervous about

18           taking the test?

19      A    Yes.

20      Q    And so are the nerves or trepidation someone

21           feels upon taking a polygraph examination, is

22           that kind of based into your analysis and

23           results?

24      A    Yes.     There's an acquaintance test that's

25           conducted before any relevant tests are

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     Case: 1:19-cv-02519-JPC Doc #: 64 Filed:
                                 Bill  Evans 08/04/20 140 of 383. PageID #: 501
                                                                                  139


 1           conducted.     I don't remember how many tests

 2           were conducted on Lieutenant Mazzola, but I

 3           know there were at least three.

 4                    I know also that the -- it's on the

 5           report, I believe.       Yeah.    There was a

 6           polygraph sensitivity test used to assess

 7           reaction capability.       It looks like there were

 8           five relevant tests conducted, six actually in

 9           total when you add the sensitivity test used to

10           assess reaction capability.         And that test is

11           done to make sure that not only the instrument

12           is recording properly, but also that the person

13           is responding properly and clear reactions are

14           present when the person tells a lie or tells

15           the truth, because the person is instructed to

16           tell a lie during that test as well as tell the

17           truth.

18      Q    And that was specifically done with

19           Mr. Mazzola, correct?

20      A    Yes.

21      Q    And, of course, you're aware that Mr. Mazzola

22           is a police officer, or at least was a police

23           officer, correct?

24      A    Yes.

25      Q    Being a police officer is a stressful job,

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                                 Bill  Evans 08/04/20 141 of 383. PageID #: 502
                                                                                  140


 1           would you agree with me?

 2      A    Yes.

 3      Q    You're life is on the line during a shift,

 4           correct?

 5                             MS. SAVOIE:      Object to the form.

 6      A    Yes.

 7      Q    Would I be correct in saying as a patrol

 8           officer you have to have I suppose I'll say

 9           nerves of steel to get through a shift?            Would

10           you agree with that?

11                             MS. SAVOIE:      Object to the form.

12      A    Well, it depends on your assignment.            In patrol

13           you never know what's going to be around the

14           next corner.

15      Q    Potentially life or death every shift, correct?

16                             MS. SAVOIE:      Object to the form.

17      A    Yes.

18      Q    Can you look at Evans 19?

19      A    Okay.     I have it.

20      Q    What is that document?

21      A    These are the questions that are asked during

22           the polygraph exam.

23      Q    And there are a couple of fields there; ID, ER

24           and text.     Do you see that?

25      A    Oh, yeah.     Yes, at the top.

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                                 Bill  Evans 08/04/20 142 of 383. PageID #: 503
                                                                                  141


 1      Q    Can you tell me what those mean?

 2      A    The ID is the identification for the question

 3           asked.     The Examining Response is yes or no.

 4           The text is the text of the question.            And the

 5           series type is the format used.

 6                    I'm starting to get hoarse.        I need to

 7           get a drink of water.        Excuse me for a quick

 8           minute.     Is that okay?

 9      Q    Yeah.     Of course.

10      A    I'll be right back.

11                    All right.     I'm sorry.

12      Q    So the fields that you're referring to are just

13           part of the program that's used and the

14           questions then fall under the text field that

15           you're referring to.        So under the ER, are

16           those the actual responses Lenny Mazzola gave?

17      A    Yes.

18      Q    So am I correct in reading this that he was

19           asked, "In your entire life did you ever

20           violate a law?"        Was he asked that?

21      A    Well, yes, but he's instructed to lie to that

22           question.     It's called a directed lie

23           technique.     So the response to that question

24           that evokes a reaction on the test because we

25           know that's a lie.

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                                 Bill  Evans 08/04/20 143 of 383. PageID #: 504
                                                                                  142


 1                   "In your entire life did you ever tell

 2           even one lie" is a "no" answer.          We know that's

 3           a lying response physiologically and that data

 4           then is compared to other data.          Where you see

 5           the response of "no" next to R-4, that's a

 6           relevant question.       It's a no response to a

 7           relevant question.

 8                   And then you see the Y response; "Are you

 9           in the State of Ohio?        Are you sitting down?",

10           and, "Are the lights on?"         Those are truthful

11           responses.

12                   The questions that are neutral questions,

13           the comparison question, "In your entire life

14           did you ever tell even one lie?"          When

15           answering no to that, that is a known lie and

16           it's a directed lie because the examinee is

17           told to answer the question with a no response,

18           and then the physiological data is compared

19           between the comparison questions to the

20           relevant questions through course and protocol

21           of the MGQT, which is the Multi General

22           Question Test.

23      Q    Would you look at document Evans 123?

24      A    Okay.    I have it.

25      Q    Can you tell me what that document is?

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                                 Bill  Evans 08/04/20 144 of 383. PageID #: 505
                                                                                  143


 1      A    This is the Garrity warning that was signed

 2           before the interview and was then used again

 3           before the polygraph exam.

 4      Q    Do you know if that's Leonard Mazzola's

 5           signature on the bottom?

 6      A    Yes, it is.

 7      Q    And the date is March 13, 2019?

 8      A    Yes.

 9      Q    There's a paragraph here, "You are further

10           ordered not to discuss this internal

11           investigation with anyone other than your chain

12           of command or attorney including, but not

13           limited to, witnesses or perspective

14           witnesses."

15                    Do you see that?

16      A    Yes, I see that.

17      Q    Did I read that correctly?

18      A    Yes.

19      Q    Did you actually verbally give that to

20           Mr. Mazzola or just hand him the document?

21      A    Well, as a courtesy I would have given it to

22           his lawyer, Sara Liva, who's the witness.             And

23           she went over that with her client, in this

24           case Leonard Mazzola, but each one that I

25           interviewed got the same document.

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                                 Bill  Evans 08/04/20 145 of 383. PageID #: 506
                                                                                  144


 1      Q    And Sara Liva signed this, correct?

 2      A    Yes.

 3      Q    And it states that, "You are further ordered

 4           not to discuss this internal investigation with

 5           anyone other than your chain of command or

 6           attorney."     Right?

 7      A    Yes.

 8      Q    And Sara Liva signed this as Leonard Mazzola's

 9           attorney, correct?

10                             MS. SAVOIE:      Object.

11      A    Yes.

12      Q    Okay.     The next sentence says, "A violation of

13           this order will be considered an act of

14           insubordination which could result in

15           disciplinary action against you, up to and

16           including termination from employment with the

17           City of Independence."

18      A    Yes.

19      Q    That was conveyed to Leonard Mazzola?

20      A    It was signed by him and his lawyer at the time

21           that it was given twice; once before the

22           polygraph, the latter of the two, and the first

23           time would have been on the 13th when I

24           interviewed him.

25      Q    So Leonard Mazzola was advised at how serious

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                                 Bill  Evans 08/04/20 146 of 383. PageID #: 507
                                                                                  145


 1           it was that he not discuss this internal

 2           investigation with anyone in March of 2019,

 3           would you agree with that?

 4      A    The document speaks for itself in that regard.

 5      Q    Is this Garrity warning essentially the

 6           statements cannot be used against the person

 7           who's given the warning in a criminal

 8           proceeding, correct?

 9      A    Correct.

10      Q    Can the statements be used against another

11           third-party in a criminal proceeding?

12      A    Yes.

13      Q    So it's potentially if someone else was ever

14           brought up on criminal charges for improper

15           access to the police computers or improper

16           access to public records, Lenny Mazzola's

17           statements could have been used against that

18           third-party, correct?

19      A    Yes.

20      Q    Mr. Evans, I'm just going to look through my

21           notes for a second.       I think that might be all

22           I have.

23                             MR. STRANG:     That's all I have

24           for now.     Thank you.

25                             MS. SAVOIE:      I think we're done.

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                                 Bill  Evans 08/04/20 147 of 383. PageID #: 508
                                                                                  146


 1           Let's take a quick break and we're going to

 2           review some notes really quick.            Okay?

 3                           (Recess taken.)

 4                            MS. SAVOIE:       Mr. Evans, we don't

 5           have any redirect questions for you.               We're

 6           finished.

 7                            THE WITNESS:      Okay.     Thank you.

 8                            MS. SNYDER:      He will read his

 9           deposition, please.

10                    (Off the record at 5:10 p.m.)

11                                - - - - -

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                                 Bill  Evans 08/04/20 148 of 383. PageID #: 509
                                                                                  147


 1      THE STATE OF OHIO,        )     SS:
        COUNTY OF CUYAHOGA.       )
 2

 3            I, Aimee N. Szinte, a Notary Public within and

 4      for the State of Ohio, duly commissioned and

 5      qualified, do hereby certify that BILL EVANS was

 6      first duly sworn to testify the truth, the whole

 7      truth and nothing but the truth in the cause

 8      aforesaid; that the testimony then given by him was

 9      by me reduced to stenotypy in the presence of said

10      witness, afterwards transcribed on a

11      computer/printer, and that the foregoing is a true

12      and correct transcript of the testimony so given by

13      him as aforesaid.

14              I do further certify that this deposition

15      was taken at the time and place in the foregoing

16      caption specified, that I am not a relative,

17      counsel or attorney of either party, or otherwise

18      interested in the events of this action.

19              IN WITNESS WHEREOF, I have hereunto set my

20      hand and affixed my seal of office at Cleveland,

21      Ohio, on this 6th day of July, 2020.

22




23
                    Aimee N. Szinte, Notary Public
24                  within and for the State of Ohio
                    My Commission expires July 15, 2023.
25

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                                 Bill  Evans 08/04/20 149 of 383. PageID #: 510
                                                                                  148


 1      THE STATE OF OHIO                  )
                                           )          SS:
 2      COUNTY OF CUYAHOGA                 )

 3

 4              Before me, a Notary Public in and for said

 5      state and county, personally appeared the

 6      above-named BILL EVANS, who acknowledged that

 7      she/he did sign the foregoing transcript and that

 8      the same is a true and correct transcript of the

 9      testimony so given.

10              IN TESTIMONY WHEREOF, I have hereunto

11      affixed my name and official seal at

12                                             this         day of

13                  , 2020.

14

15

16

17

18                                Notary Public

19

20      My Commission Expires:

21

22

23

24

25

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                                                                                                                     149


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Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 153 of 383. PageID #: 514
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 154 of 383. PageID #: 515




                                                                 EVANS/PTA196
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 155 of 383. PageID #: 516




                                                                 EVANS/PTA197
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 156 of 383. PageID #: 517




                                                                 EVANS/PTA198
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 157 of 383. PageID #: 518




                                                                 EVANS/PTA199
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 158 of 383. PageID #: 519




                                                                 EVANS/PTA200
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 159 of 383. PageID #: 520




                                                                 EVANS/PTA201
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 160 of 383. PageID #: 521




                                                                 EVANS/PTA202
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 161 of 383. PageID #: 522




                                                                 EVANS/PTA203
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 162 of 383. PageID #: 523




                                                                 EVANS/PTA204
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 163 of 383. PageID #: 524




                                                                 EVANS/PTA205
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 164 of 383. PageID #: 525




                                                                 EVANS/PTA206
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 165 of 383. PageID #: 526




                                                                 EVANS/PTA207
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 166 of 383. PageID #: 527




                                                                 EVANS/PTA208
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 167 of 383. PageID #: 528




                                                                 EVANS/PTA209
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 168 of 383. PageID #: 529




                                                                 EVANS/PTA210
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 169 of 383. PageID #: 530




                                                                 EVANS/PTA211
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 170 of 383. PageID #: 531




                                                                 EVANS/PTA212
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 171 of 383. PageID #: 532




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Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 172 of 383. PageID #: 533




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Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 173 of 383. PageID #: 534




                                                                 EVANS/PTA215
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 174 of 383. PageID #: 535




                                                                 EVANS/PTA216
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 175 of 383. PageID #: 536




                                                                 EVANS/PTA217
5/11/2020         Case: 1:19-cv-02519-JPC
                                    I-TEAM: LieDoc   #: test
                                                detector 64 given
                                                              Filed:    08/04/20
                                                                  to local police officer 176    of 383.
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                                                              Filed:    08/04/20
                                                                  to local police officer 177    of 383.
                                                                                          over traffic tickets |PageID
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       by: Ed Gallek
       Posted: May 3, 2019 / 07:43 PM EDT / Updated: May 3, 2019 / 07:43 PM EDT


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                                                              Filed:    08/04/20
                                                                  to local police officer 178    of 383.
                                                                                          over traffic tickets |PageID
                                                                                                                fox8.com #: 539



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                                                              Filed:    08/04/20
                                                                  to local police officer 181    of 383.
                                                                                          over traffic tickets |PageID
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                                                                  to local police officer 183    of 383.
                                                                                          over traffic tickets |PageID
                                                                                                                fox8.com #: 544



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                                    I-TEAM: LieDoc   #: test
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                                                                  to local police officer 184    of 383.
                                                                                          over traffic tickets |PageID
                                                                                                                fox8.com #: 545



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                                                detector 64 given
                                                              Filed:    08/04/20
                                                                  to local police officer 185    of 383.
                                                                                          over traffic tickets |PageID
                                                                                                                fox8.com #: 546



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                                                detector 64 given
                                                              Filed:    08/04/20
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                                                detector 64 given
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https://fox8.com/news/i-team-lie-detector-test-given-to-local-police-officer-over-traffic-tickets/                                       12/13
5/11/2020         Case: 1:19-cv-02519-JPC
                                    I-TEAM: LieDoc   #: test
                                                detector 64 given
                                                              Filed:    08/04/20
                                                                  to local police officer 188    of 383.
                                                                                          over traffic tickets |PageID
                                                                                                                fox8.com #: 549



    41°

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https://fox8.com/news/i-team-lie-detector-test-given-to-local-police-officer-over-traffic-tickets/                                13/13
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 189 of 383. PageID #: 550




                                                                 EVANS/PTA001
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 190 of 383. PageID #: 551




                                                                 EVANS/PTA002
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 191 of 383. PageID #: 552




                                                                 EVANS/PTA003
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 192 of 383. PageID #: 553




                                                                 EVANS/PTA004
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 193 of 383. PageID #: 554




                                                                 EVANS/PTA005
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 194 of 383. PageID #: 555




                                                                 EVANS/PTA006
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 195 of 383. PageID #: 556




                                                                 EVANS/PTA007
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 196 of 383. PageID #: 557




                                                                 EVANS/PTA008
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 197 of 383. PageID #: 558




                                                                 EVANS/PTA009
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 198 of 383. PageID #: 559




                                                                 EVANS/PTA010
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 199 of 383. PageID #: 560




                                                                 EVANS/PTA011
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 200 of 383. PageID #: 561




                                                                 EVANS/PTA012
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 201 of 383. PageID #: 562




                                                                 EVANS/PTA013
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 202 of 383. PageID #: 563




                                                                 EVANS/PTA014
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 203 of 383. PageID #: 564




                                                                 EVANS/PTA015
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 204 of 383. PageID #: 565




                                                                 EVANS/PTA016
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 205 of 383. PageID #: 566




                                                                 EVANS/PTA017
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 206 of 383. PageID #: 567




                                                                 EVANS/PTA018
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 207 of 383. PageID #: 568




                                                                 EVANS/PTA019
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 208 of 383. PageID #: 569




                                                                 EVANS/PTA020
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 209 of 383. PageID #: 570




                                                                 EVANS/PTA021
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 210 of 383. PageID #: 571




                                                                 EVANS/PTA022
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 211 of 383. PageID #: 572




                                                                 EVANS/PTA023
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 212 of 383. PageID #: 573




                                                                 EVANS/PTA024
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 213 of 383. PageID #: 574




                                                                 EVANS/PTA025
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 214 of 383. PageID #: 575




                                                                 EVANS/PTA026
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 215 of 383. PageID #: 576




                                                                 EVANS/PTA027
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 216 of 383. PageID #: 577




                                                                 EVANS/PTA028
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 217 of 383. PageID #: 578




                                                                 EVANS/PTA029
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 218 of 383. PageID #: 579




                                                                 EVANS/PTA030
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 219 of 383. PageID #: 580




                                                                 EVANS/PTA031
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 220 of 383. PageID #: 581




                                                                 EVANS/PTA032
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 221 of 383. PageID #: 582




                                                                 EVANS/PTA033
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 222 of 383. PageID #: 583




                                                                 EVANS/PTA034
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 223 of 383. PageID #: 584




                                                                 EVANS/PTA035
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 224 of 383. PageID #: 585




                                                                 EVANS/PTA036
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 225 of 383. PageID #: 586




                                                                 EVANS/PTA037
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 226 of 383. PageID #: 587




                                                                 EVANS/PTA038
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 227 of 383. PageID #: 588




                                                                 EVANS/PTA039
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 228 of 383. PageID #: 589




                                                                 EVANS/PTA040
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 229 of 383. PageID #: 590




                                                                 EVANS/PTA041
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 230 of 383. PageID #: 591




                                                                 EVANS/PTA042
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 231 of 383. PageID #: 592




                                                                 EVANS/PTA043
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 232 of 383. PageID #: 593




                                                                 EVANS/PTA044
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 233 of 383. PageID #: 594




                                                                 EVANS/PTA045
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 234 of 383. PageID #: 595




                                                                 EVANS/PTA046
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 235 of 383. PageID #: 596




                                                                 EVANS/PTA047
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 236 of 383. PageID #: 597




                                                                 EVANS/PTA048
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 237 of 383. PageID #: 598




                                                                 EVANS/PTA049
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 238 of 383. PageID #: 599




                                                                 EVANS/PTA050
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 239 of 383. PageID #: 600




                                                                 EVANS/PTA051
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 240 of 383. PageID #: 601




                                                                 EVANS/PTA052
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 241 of 383. PageID #: 602




                                                                 EVANS/PTA053
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 242 of 383. PageID #: 603




                                                                 EVANS/PTA054
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 243 of 383. PageID #: 604




                                                                 EVANS/PTA055
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 244 of 383. PageID #: 605




                                                                 EVANS/PTA056
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 245 of 383. PageID #: 606




                                                                 EVANS/PTA057
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 246 of 383. PageID #: 607




                                                                 EVANS/PTA058
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 247 of 383. PageID #: 608




                                                                 EVANS/PTA059
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 248 of 383. PageID #: 609




                                                                 EVANS/PTA060
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 249 of 383. PageID #: 610




                                                                 EVANS/PTA061
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 250 of 383. PageID #: 611




                                                                 EVANS/PTA062
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 251 of 383. PageID #: 612




                                                                 EVANS/PTA063
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 252 of 383. PageID #: 613




                                                                 EVANS/PTA064
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 253 of 383. PageID #: 614




                                                                 EVANS/PTA065
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 254 of 383. PageID #: 615




                                                                 EVANS/PTA066
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 255 of 383. PageID #: 616




                                                                 EVANS/PTA067
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 256 of 383. PageID #: 617




                                                                 EVANS/PTA068
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 257 of 383. PageID #: 618




                                                                 EVANS/PTA069
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 258 of 383. PageID #: 619




                                                                 EVANS/PTA070
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 259 of 383. PageID #: 620




                                                                 EVANS/PTA071
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 260 of 383. PageID #: 621




                                                                 EVANS/PTA072
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 261 of 383. PageID #: 622




                                                                 EVANS/PTA073
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 262 of 383. PageID #: 623




                                                                 EVANS/PTA074
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 263 of 383. PageID #: 624




                                                                 EVANS/PTA075
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 264 of 383. PageID #: 625




                                                                 EVANS/PTA076
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 265 of 383. PageID #: 626




                                                                 EVANS/PTA077
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 266 of 383. PageID #: 627




                                                                 EVANS/PTA078
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 267 of 383. PageID #: 628




                                                                 EVANS/PTA079
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 268 of 383. PageID #: 629




                                                                 EVANS/PTA080
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 269 of 383. PageID #: 630




                                                                 EVANS/PTA081
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 270 of 383. PageID #: 631




                                                                 EVANS/PTA082
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 271 of 383. PageID #: 632




                                                                 EVANS/PTA083
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 272 of 383. PageID #: 633




                                                                 EVANS/PTA084
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 273 of 383. PageID #: 634




                                                                 EVANS/PTA085
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 274 of 383. PageID #: 635




                                                                 EVANS/PTA086
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 275 of 383. PageID #: 636




                                                                 EVANS/PTA087
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 276 of 383. PageID #: 637




                                                                 EVANS/PTA088
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 277 of 383. PageID #: 638




                                                                 EVANS/PTA089
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 278 of 383. PageID #: 639




                                                                 EVANS/PTA090
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 279 of 383. PageID #: 640




                                                                 EVANS/PTA091
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 280 of 383. PageID #: 641




                                                                 EVANS/PTA092
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 281 of 383. PageID #: 642




                                                                 EVANS/PTA093
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 282 of 383. PageID #: 643




                                                                 EVANS/PTA094
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 283 of 383. PageID #: 644




                                                                 EVANS/PTA095
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 284 of 383. PageID #: 645




                                                                 EVANS/PTA096
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 285 of 383. PageID #: 646




                                                                 EVANS/PTA097
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 286 of 383. PageID #: 647




                                                                 EVANS/PTA098
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 287 of 383. PageID #: 648




                                                                 EVANS/PTA099
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 288 of 383. PageID #: 649




                                                                 EVANS/PTA100
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 289 of 383. PageID #: 650




                                                                 EVANS/PTA101
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 290 of 383. PageID #: 651




                                                                 EVANS/PTA102
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 291 of 383. PageID #: 652




                                                                 EVANS/PTA103
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 292 of 383. PageID #: 653




                                                                 EVANS/PTA104
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 293 of 383. PageID #: 654




                                                                 EVANS/PTA105
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 294 of 383. PageID #: 655




                                                                 EVANS/PTA106
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 295 of 383. PageID #: 656




                                                                 EVANS/PTA107
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 296 of 383. PageID #: 657




                                                                 EVANS/PTA108
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 297 of 383. PageID #: 658




                                                                 EVANS/PTA109
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 298 of 383. PageID #: 659




                                                                 EVANS/PTA110
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 299 of 383. PageID #: 660




                                                                 EVANS/PTA111
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 300 of 383. PageID #: 661




                                                                 EVANS/PTA112
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 301 of 383. PageID #: 662




                                                                 EVANS/PTA113
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 302 of 383. PageID #: 663




                                                                 EVANS/PTA114
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 303 of 383. PageID #: 664




                                                                 EVANS/PTA115
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 304 of 383. PageID #: 665




                                                                 EVANS/PTA116
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 305 of 383. PageID #: 666




                                                                 EVANS/PTA117
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 306 of 383. PageID #: 667




                                                                 EVANS/PTA118
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 307 of 383. PageID #: 668




                                                                 EVANS/PTA119
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 308 of 383. PageID #: 669




                                                                 EVANS/PTA120
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 309 of 383. PageID #: 670




                                                                 EVANS/PTA121
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 310 of 383. PageID #: 671




                                                                 EVANS/PTA122
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 311 of 383. PageID #: 672




                                                                 EVANS/PTA123
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 312 of 383. PageID #: 673




                                                                 EVANS/PTA124
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 313 of 383. PageID #: 674




                                                                 EVANS/PTA125
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 314 of 383. PageID #: 675




                                                                 EVANS/PTA126
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 315 of 383. PageID #: 676




                                                                 EVANS/PTA127
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 316 of 383. PageID #: 677




                                                                 EVANS/PTA128
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 317 of 383. PageID #: 678




                                                                 EVANS/PTA129
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 318 of 383. PageID #: 679




                                                                 EVANS/PTA130
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 319 of 383. PageID #: 680




                                                                 EVANS/PTA131
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 320 of 383. PageID #: 681




                                                                 EVANS/PTA132
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 321 of 383. PageID #: 682




                                                                 EVANS/PTA133
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 322 of 383. PageID #: 683




                                                                 EVANS/PTA134
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 323 of 383. PageID #: 684




                                                                 EVANS/PTA135
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 324 of 383. PageID #: 685




                                                                 EVANS/PTA136
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 325 of 383. PageID #: 686




                                                                 EVANS/PTA137
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 326 of 383. PageID #: 687




                                                                 EVANS/PTA138
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 327 of 383. PageID #: 688




                                                                 EVANS/PTA139
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 328 of 383. PageID #: 689




                                                                 EVANS/PTA140
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 329 of 383. PageID #: 690




                                                                 EVANS/PTA141
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 330 of 383. PageID #: 691




                                                                 EVANS/PTA142
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 331 of 383. PageID #: 692




                                                                 EVANS/PTA143
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 332 of 383. PageID #: 693




                                                                 EVANS/PTA144
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 333 of 383. PageID #: 694




                                                                 EVANS/PTA145
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 334 of 383. PageID #: 695




                                                                 EVANS/PTA146
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 335 of 383. PageID #: 696




                                                                 EVANS/PTA147
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 336 of 383. PageID #: 697




                                                                 EVANS/PTA148
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 337 of 383. PageID #: 698




                                                                 EVANS/PTA149
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 338 of 383. PageID #: 699




                                                                 EVANS/PTA150
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 339 of 383. PageID #: 700




                                                                 EVANS/PTA151
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 340 of 383. PageID #: 701




                                                                 EVANS/PTA152
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 341 of 383. PageID #: 702




                                                                 EVANS/PTA153
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 342 of 383. PageID #: 703




                                                                 EVANS/PTA154
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 343 of 383. PageID #: 704




                                                                 EVANS/PTA155
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 344 of 383. PageID #: 705




                                                                 EVANS/PTA156
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 345 of 383. PageID #: 706




                                                                 EVANS/PTA157
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 346 of 383. PageID #: 707




                                                                 EVANS/PTA158
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 347 of 383. PageID #: 708




                                                                 EVANS/PTA159
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 348 of 383. PageID #: 709




                                                                 EVANS/PTA160
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 349 of 383. PageID #: 710




                                                                 EVANS/PTA161
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 350 of 383. PageID #: 711




                                                                 EVANS/PTA162
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 351 of 383. PageID #: 712




                                                                 EVANS/PTA163
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 352 of 383. PageID #: 713




                                                                 EVANS/PTA164
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 353 of 383. PageID #: 714




                                                                 EVANS/PTA165
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 354 of 383. PageID #: 715




                                                                 EVANS/PTA166
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 355 of 383. PageID #: 716




                                                                 EVANS/PTA167
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 356 of 383. PageID #: 717




                                                                 EVANS/PTA168
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 357 of 383. PageID #: 718




                                                                 EVANS/PTA169
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 358 of 383. PageID #: 719




                                                                 EVANS/PTA170
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 359 of 383. PageID #: 720




                                                                 EVANS/PTA171
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 360 of 383. PageID #: 721




                                                                 EVANS/PTA172
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 361 of 383. PageID #: 722




                                                                 EVANS/PTA173
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 362 of 383. PageID #: 723




                                                                 EVANS/PTA174
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 363 of 383. PageID #: 724




                                                                 EVANS/PTA175
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 364 of 383. PageID #: 725




                                                                 EVANS/PTA176
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 365 of 383. PageID #: 726




                                                                 EVANS/PTA177
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 366 of 383. PageID #: 727




                                                                 EVANS/PTA178
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 367 of 383. PageID #: 728




                                                                 EVANS/PTA179
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 368 of 383. PageID #: 729




                                                                 EVANS/PTA180
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 369 of 383. PageID #: 730




                                                                 EVANS/PTA181
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 370 of 383. PageID #: 731




                                                                 EVANS/PTA182
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 371 of 383. PageID #: 732




                                                                 EVANS/PTA183
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 372 of 383. PageID #: 733




                                                                 EVANS/PTA184
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 373 of 383. PageID #: 734




                                                                 EVANS/PTA185
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 374 of 383. PageID #: 735




                                                                 EVANS/PTA186
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 375 of 383. PageID #: 736




                                                                 EVANS/PTA187
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 376 of 383. PageID #: 737




                                                                 EVANS/PTA188
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 377 of 383. PageID #: 738




                                                                 EVANS/PTA189
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 378 of 383. PageID #: 739




                                                                 EVANS/PTA190
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 379 of 383. PageID #: 740




                                                                 EVANS/PTA191
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 380 of 383. PageID #: 741




                                                                 EVANS/PTA192
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 381 of 383. PageID #: 742




                                                                 EVANS/PTA193
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 382 of 383. PageID #: 743




                                                                 EVANS/PTA194
Case: 1:19-cv-02519-JPC Doc #: 64 Filed: 08/04/20 383 of 383. PageID #: 744




                                                                 EVANS/PTA195
